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11                            UNITED STATES DISTRICT COURT

12                         NORTHERN DISTRICT OF CALIFORNIA

13                                SAN FRANCISCO DIVISION

14 IN RE RESISTORS ANTITRUST                      Case No.: 3:15-cv-03820-JD
   LITIGATION
15
                                                  SECOND AMENDED CONSOLIDATED
16
                                                  CLASS ACTION COMPLAINT
17

18                                                JURY DEMAND
19 This Document Relates To:

20
                 All Indirect Purchaser Actions
21

22

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24                          DOCUMENT SUBMITTED UNDER SEAL

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 1         Plaintiffs Microsystems Development Technologies, Inc., Nebraska Dynamics, Inc.,

 2 MakersLED LLC, Linkitz Systems, Inc., Top Floor Home Improvements, Angstrom, Inc., In

 3 Home Tech Solutions, Inc. and Anthony Sakal (collectively, “Plaintiffs”) bring this action on

 4 behalf of themselves and all others similarly situated (the “Classes” defined below). Plaintiffs’

 5 allegations in this Complaint are based upon personal knowledge as to the facts pertaining to

 6 them, and upon information and belief as to all other matters. These allegations are also based

 7 on the investigation of counsel. Plaintiffs seek damages, injunctive relief, and all other relief

 8 available under the federal antitrust laws and the antitrust, unfair competition and consumer

 9 protection laws of the laws of the various states.

10         Plaintiffs demand a trial by jury, and allege as follows:

11 I.      NATURE OF ACTION

12         1.      Resistors are one of the most common electronic components in the world today.

13 They are designed to provide a specific amount of resistance to an electronic circuit. They are

14 “passive” components in the sense that they regulate, as opposed to generate, electrical currents.

15 Since many electronic components have capacity for more electrical current than is necessary,

16 and additional electrical current may be harmful, resistors serve a regulatory function by assuring

17 that appropriate levels of voltage go to specific parts of an electronic circuit. Almost all

18 electronic products—from cellphones to personal computers—contain resistors, often hundreds

19 of them. See images below.

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17          2.      Resistors are widely used in a range of industries, including the

18 telecommunications, audiovisual, automotive, and server computing markets. The overall

19 resistor market can be separated into two categories: linear resistors and non-linear resistors,

20 the former of which (i.e., linear) are the subject of this Complaint. In basic terms, a linear resistor

21 is a resistor “in which current produced is directly proportional to the applied voltage.” See

22 http://jabelufiroz.hubpages.com/hub/Linear-and-Non-Linear-Resistors (last visited on August

23 18, 2015). A non-linear resistor is a resistor “whose current does not change linearly with

24 changes in applied voltage.” Id. In contrast to non-linear resistors, which are used in specialized

25 products, linear resistors are highly standardized.1

26
     1
         Many manufacturers compete in both the capacitor and resistor markets (e.g. Panasonic,
27 Rohm, Vishay, and Yageo). See Dennis M. Zogbi, Resistors: World Markets, Technologies &
   Opportunities: 2014-2019 (Paumanok Publications, September 2014).
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20          4.     Plaintiffs purchased resistors as stand-alone products from distributors that had

21 previously purchased them from Defendants. When purchased as stand-alone products, resistors

22 are directly traceable to the specific manufacturer, because they either bear the Defendants’

23 markings (e.g., name, logo, series) or they are marked with a chemical that permits a “chemical

24 trace” back to the manufacturer.

25          5.     From at least 2003 until the present, Defendants—the worlds’ largest

26 manufacturers of linear resistors—along with other co-conspirators (as yet unknown) agreed,
27 combined, and conspired, to inflate, fix, raise, maintain or artificially stabilize prices of linear

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 1 resistors sold in the United Sates (the “Class Period”).2 Defendants’ conspiracy successfully

 2 targeted various individuals and entities that purchased linear resistors from distributors, and

 3 those purchasers—i.e. the Plaintiffs—paid artificially-inflated, supracompetitive prices for linear

 4 resistors as a result.

 5          6.      Defendants’ conduct violated, and continues to violate, Section One of the

 6 Sherman Act and the antitrust, consumer protection, and unfair competition laws of the various

 7 states. Plaintiffs and the Classes paid artificially inflated prices for resistors, and have thereby

 8 suffered antitrust injury to their business or property as a direct result of the anticompetitive and

 9 unlawful conduct alleged herein.

10 II.      GOVERNMENT INVESTIGATIONS INTO THE RESISTORS INDUSTRY
            AND RELATED INDUSTRIES
11
            A.      U.S. Investigations
12

13          7.      It was widely reported that the Department of Justice (DOJ) initiated an

14 investigation of price fixing in the resistors industry in June of 2015.

15          8.      It was also reported that the DOJ’s investigation in the resistors industry is an

16 “offshoot” of its price-fixing investigation into the capacitors industry. According to reports,

17 there is significant overlap in companies under investigation, though there are some companies

18 in the resistors case that do not appear in the capacitors case. It has been reported that these two

19 cases are part of a probe into the larger market for passive electronic components, and that it is

20 widely expected that the DOJ’s inquiry will continue to expand.

21          9.      So far, eight companies, including Panasonic Corporation, have acknowledged

22 being contacted by U.S. or other antitrust authorities in connection with the capacitors probe.

23 Panasonic—one of the world’s leading manufacturers of both resistors and capacitors—

24 cooperated with the DOJ in the capacitors investigation and sought leniency under the Antitrust

25 Criminal Penalty Enhancement and Reform Act (“ACPERA”).

26
     2
          “Defendants” refers collectively to the following entities: Panasonic Corporation;
27 Panasonic Corporation of North America; KOA Corporation; KOA Speer Electronics, Inc.;
   ROHM Co. Ltd.; ROHM Semiconductor U.S.A., LLC; Kamaya Electric Co., Ltd.; Kamaya
28 Inc.; Hokuriku Electric Industry Co.; and HDK America, Inc.
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 1          10.    A report in MLex issued on July 22, 2015 stated the following:

 2                  The US Department of Justice is investigating allegations of price-
                    fixing in the resistors industry, MLex has learned.
 3

 4                  Resistors are fundamental parts of an electrical circuit that help reduce
                    the flow of current. Trillions of them are sold every year, and they are
 5                  used by any product that needs electricity from smartphones to
                    coffeemakers.
 6
                    A spokesman for the Justice Department declined to comment.
 7
                    The investigation is understood to be an offshoot of the DOJ’s
 8                  investigation into capacitors, which began in 2014. Eight Japanese
 9                  companies, including Panasonic and Hitachi Chemical, have
                    acknowledged being contacted by US or other antitrust authorities in
10                  connection with the capacitor probe, though none have yet faced
                    sanctions or charges.
11
                    Japan’s Panasonic is understood to have approached DOJ’s antitrust
12                  division, seeking leniency related to resistors. The DOJ’s leniency
13                  program grants complete immunity from prosecution to the first
                    company that admits involvement in a price-fixing conspiracy and
14                  agrees to cooperate.

15                  Akira Kadota, a spokesman for Panasonic in Tokyo, declined to
                    comment.
16

17          11.    The existence of this investigation was been confirmed by DOJ’s intervention in

18 these cases and its attempts to stay discovery.

19          12.    On February 2, 2016, the Court ordered Defendants to produce to Plaintiffs all

20 documents previously produced to governmental agencies. Dkt. No. 112.

21          13.    The aforementioned MLex report about Panasonic’s seeking of leniency is

22 consistent with Panasonic’s own statements. In its 2012 Form 10-K filed with the Securities &

23 Exchange Commission, Panasonic said that it was cooperating with governmental competition
                                                                       3
24 authorities in a number of investigations that were not identified.

25          B.     Foreign Investigations
26          14.    In addition to the DOJ investigation, there were also investigations by foreign

27   3
    http://www.sec.gov/Archives/edgar/data/63271/000119312512286456/d230958d20f.htm#tx23
28 0958_6.
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 1 antitrust authorities. For example, it was reported that the Korean Fair Trade Commission

 2 (“KFTC”) conducted an on-site investigation of suspected price fixing in the market for resistors.

 3 It was also reported that the Japanese Fair Trade Commission (“JFTC”) conducted raids at some

 4 of the Defendants’ offices.

 5 III.     THE DEFENDANTS CONCEALED THEIR UNLAWFUL CONDUCT

 6          A.     The Statute of Limitations Did Not Begin to Run Because Plaintiffs Did Not
                   and Could Not Discover Their Claims.
 7

 8          15.    Plaintiffs and members of the Classes had no knowledge of the combination or

 9 conspiracy alleged herein, or of facts sufficient to place them on inquiry notice of the claims set

10 forth herein, until (at the earliest) June 2015, when reports of the investigations into

11 anticompetitive conduct concerning resistors were first publicly disseminated.

12          16.    Plaintiffs and members of the Classes purchased resistors manufactured by a

13 Defendant from a distributor. They had no direct contact or interaction with any of the

14 Defendants and had no means from which they could have discovered the combination and

15 conspiracy described in this Complaint before June 2015, when reports of the investigations into

16 anticompetitive conduct concerning resistors were first publicly disseminated.

17          17.    No information in the public domain was available to Plaintiffs and the members

18 of the Classes prior to the public announcements of the government investigations beginning in

19 June 2015 that revealed sufficient information to suggest that any one of the Defendants was

20 involved in a criminal conspiracy to fix prices for resistors.

21          18.    Publicly, some Defendants repeatedly and expressly stated throughout the Class

22 Period, including on their public Internet websites, that they maintained antitrust/fair competition

23 policies which prohibited the type of collusion seen in this litigation.

24          19.    It was reasonable for members of the Classes who may have been exposed to

25 these public policies to believe that the Defendants were enforcing the policies.

26          20.    For these reasons, the statute of limitations as to Plaintiffs’ and the Classes’

27 claims did not begin to run with respect to the claims that Plaintiffs alleged in this Complaint.

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 1         B.      Defendants’ Fraudulent Concealment Tolled the Statute of Limitations.

 2         21.     In the alternative, application of the doctrine of fraudulent concealment tolled the

 3 statute of limitations on the claims asserted herein by Plaintiffs (and those of the Classes) until

 4 June 2015 at the earliest. Plaintiffs and the members of the Classes had no knowledge of the

 5 combination or conspiracy alleged in this Complaint, or of facts sufficient to place them on

 6 inquiry notice of their claims, until news sources first reported in June 2015 that the DOJ was

 7 conducting a probe into anticompetitive conduct among resistors manufacturers. Prior to that

 8 date, no information in the public domain or available to the Plaintiffs and the Classes suggested

 9 that any Defendant was involved in a criminal conspiracy to fix prices for resistors.

10         22.     Plaintiffs exercised reasonable diligence. Plaintiffs and the Classes could not

11 have discovered the alleged conspiracy at an earlier date by the exercise of reasonable diligence

12 because of the deceptive practices and techniques of secrecy employed by Defendants and their

13 co-conspirators to conceal their combination.

14         23.     Before that time, Plaintiffs and members of the Classes were unaware of

15 Defendants’ unlawful conduct, and did not know that they were paying supracompetitive prices

16 for resistors throughout the United States during the Class Period. No information, actual or

17 constructive, was ever made available to Plaintiffs that even hinted to Plaintiffs that they were

18 being injured by Defendants’ unlawful conduct.

19         24.     The affirmative acts of Defendants alleged herein, including acts in furtherance

20 of the conspiracy, were wrongfully concealed and carried out in a manner that precluded

21 detection.

22         25.     Defendants used mechanisms designed to conceal their collusion, such as covert

23 meetings, use of code words or terms to refer to competitors and/or customers, use of pretexts to

24 mask the true purpose of collusive communications, use of non-company phones, and

25 instructions to destroy emails evidencing collusive activities.

26         26.

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10                                                                       . As noted, participants in

11 the conspiracy concealed their activities by warning each other to treat collusive discussions as

12 “confidential,” by referencing co-conspirators with code words, and by reminding their them not

13 to distribute evidence of their price-fixing outside the conspiracy.

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24         28.     When distributing his notes on a discussion with Defendant Kamaya and other

25 JEITA participants about available capacity, volume, and prices,

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 8         30.     By its very nature, Defendants’ anticompetitive conspiracy was inherently self-

 9 concealing. Resistors are not exempt from antitrust regulation, and thus, before June 2015,

10 Plaintiffs reasonably considered it to be a competitive industry. Accordingly, a reasonable

11 person under the circumstances would not have been alerted to begin to investigate the

12 legitimacy of Defendants’ resistors prices before June 2015.

13         31.     Plaintiffs and members of the Classes could not have discovered the alleged

14 contract, conspiracy or combination at an earlier date by the exercise of reasonable diligence

15 because of the deceptive practices and techniques of secrecy employed by Defendants and their

16 co-conspirators to avoid detection of, and fraudulently conceal, their contract, combination, or

17 conspiracy.

18         32.     Because the alleged conspiracy was both self-concealing and affirmatively

19 concealed by Defendants and their co-conspirators, Plaintiffs and members of the Classes had

20 no knowledge of the alleged conspiracy, or of any facts or information that would have caused

21 a reasonably diligent person to investigate whether a conspiracy existed, until June 2015, when

22 reports of the investigations into anticompetitive conduct concerning resistors were first publicly

23 disseminated.

24         33.     For these reasons, the statute of limitations applicable to the claims of Plaintiffs’

25 and members of the Classes was tolled and did not begin to run until, at the earliest, June 2015.

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 1 IV.      JURISDICTION AND VENUE

 2          34.      Plaintiffs bring this action under Section 16 of the Clayton Act (15 U.S.C. § 26)

 3 to secure equitable and injunctive relief against Defendants for violating the Sherman Act (15

 4 U.S.C. § 1). Plaintiffs also assert claims for actual and exemplary damages and injunctive relief

 5 pursuant to California’s antitrust, unfair competition, and consumer protection laws, and seek to

 6 obtain restitution, recover damages, and secure all other available relief against Defendants for

 7 violation of those state laws. Plaintiffs and the Classes also seek attorneys’ fees, costs, and other

 8 expenses under these laws.

 9          35.      This Court has subject matter jurisdiction pursuant to Section 16 of the Clayton

10 Act (15 U.S.C. § 26), Section 1 of the Sherman Act (15 U.S.C. § 1), and 28 U.S.C. §§ 1331 and

11 1137. This Court also has subject matter jurisdiction of the state law claims pursuant to 28

12 U.S.C. § 1332(d) and 1367, in that: (i) this is a class action in which the matter or controversy

13 exceeds the sum of $5,000,000, exclusive of interest and costs, and in which some members of

14 the proposed Classes are citizens of a state different from some Defendants; and (ii) Plaintiffs’

15 state law claims form part of the same case or controversy as their federal claims under Article

16 III of the United States Constitution.

17          36.      Venue is proper in this District pursuant to Section 12 of the Clayton Act (15

18 U.S.C. § 22), and 28 U.S.C. §§ 1391(b)-(d) because a substantial part of the events giving rise

19 to Plaintiffs’ claims occurred in this District, a substantial portion of the affected interstate trade

20 and commerce discussed below has been carried out in this District, and one or more of the

21 Defendants reside, are licensed to do business in, are doing business in, had agents in, or are

22 found or transact business in this District.

23          37.      This Court has in personam jurisdiction over each of the Defendants because

24 each Defendant, either directly or through the ownership and/or control of its United States

25 subsidiaries, inter alia: (a) transacted business in the United States, including in this District; (b)

26 directly or indirectly sold or marketed substantial quantities of resistors throughout the United
27 States, including in this District; (c) had substantial aggregate contacts with the United States as

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 1 a whole, including in this District; or (d) were engaged in an illegal price-fixing conspiracy that

 2 was directed at, and had a direct, substantial, reasonably foreseeable and intended effect of

 3 causing injury to, the business or property of persons and entities residing in, located in, or doing

 4 business throughout the United States, including in this District. Defendants also conduct

 5 business throughout the United States, including in this District, and they have purposefully

 6 availed themselves of the laws of the United States.

 7         38.      Defendants engaged in conduct both inside and outside of the United States that

 8 caused direct, substantial, and reasonably foreseeable and intended anticompetitive effects upon

 9 interstate commerce within the United States.

10         39.      The activities of Defendants and their co-conspirators were within the flow of,

11 were intended to, and did have, a substantial effect on interstate commerce in the United States.

12 Defendants’ products are sold in the flow of interstate commerce.

13         40.      Resistors manufactured abroad by Defendants and sold as stand-alone products

14 that were either manufactured in the United States or manufactured abroad and sold in the United

15 States, are goods brought into the United States for sale and therefore constitute import

16 commerce. To the extent any resistors are purchased in the United States, and such resistors do

17 not constitute import commerce, Defendants’ unlawful conduct with respect thereto, as more

18 fully alleged herein during the respective Class Periods, had and continues to have a direct,

19 substantial, and reasonably foreseeable effect on United States commerce. The anticompetitive

20 conduct, and its effect on United States commerce described herein, caused antitrust injury to

21 Plaintiffs and members of the Classes in the United States. In conspiratorial meetings between

22 and among the resistors manufacturers, they often discussed conditions in the United States

23 market. Their conduct targed United States’ commerce.

24         41.      By reason of the unlawful activities hereinafter alleged, Defendants substantially

25 affected commerce throughout the United States, causing injury to Plaintiffs and members of the

26 Classes. Defendants, directly and through their agents, engaged in activities affecting all states,
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 1 to fix, raise, maintain and/or stabilize prices, and allocate market shares for resistors, which

 2 conspiracies unreasonably restrained trade and adversely affected the market for such resistors.

 3          42.     Defendants’ anticompetitive conduct adversely affected individuals and entities

 4 in the United States, including Plaintiffs and members of the Classes, who indirectly purchased

 5 resistors as stand-alone products.

 6 V.       INTRADISTRICT ASSIGNMENT

 7          43.    Intradistrict assignment to the San Francisco Division is appropriate.

 8 VI.      PARTIES

 9          A.     Indirect Purchaser Plaintiffs
10          44.    Microsystems Development Technologies, Inc. (“MDTI”) is a California

11 Corporation with its principal place of business in San Jose, California.. MDTI purchased

12 resistors as stand-alone products in California from one or more distributors that purchased such

13 resistors as stand-alone products from one or more defendants during the Class Period. MDTI

14 has been injured in California and is threatened with further injury as a result of the violations

15 alleged in this Complaint.

16          45.    Nebraska Dynamics, Inc. (“Nebraska Dynamics”) is a Nebraska Corporation

17 with its principal place of business in Louisville, Nebraska. Nebraska Dynamics purchased

18 resistors as stand-alone products in Nebraska from one or more distributors that purchased such

19 resistors as stand-alone products from one or more defendants during the Class Period. Nebraska

20 Dynamics was injured in Nebraska and is threatened with further injury as a result of the

21 violations alleged in this Complaint.

22          46.    MakersLED LLC (“MakersLED”) is an Iowa Limited Liability Company with

23 its principal place of business in Ames, Iowa. MarkersLED purchased resistors as stand-alone

24 products in Iowa from one or more distributors that purchased such resistors as stand-alone

25 products from one or more defendants during the Class Period. MakersLED was injured in Iowa

26 and is threatened with further injury as a result of the violations alleged in this Complaint.
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 1          47.     Linkitz Systems, Inc. (“Linkitz”) is located in New York, New York. Linkitz

 2 purchased resistors as stand-alone products in New York from one or more distributors that

 3 purchased such resistors as stand-alone products from one or more defendants during the Class

 4 Period. Linkitz has been injured in New York and is threatened with further injury as a result of

 5 the violations alleged in this Complaint.

 6          48.     Top Floor Home Improvements (“Top Floor”) is located at 16 Woodworth

 7 Avenue in Jamestown, New York. Top Floor purchased resistors as stand-alone products in New

 8 York from one or more distributors that purchased such resistors as stand-alone products from

 9 one or more defendants during the Class Period. Top Floor was injured in New York and is

10 threatened with further injury as a result of the violations alleged in this Complaint.

11          49.     Angstrom, Inc., (“Angstrom”) resides in Michigan and has its principal place of

12 business in Michigan. Angstrom purchased resistors as stand-alone products in Michigan from

13 one or more distributors that purchased such resistors as stand-alone products from one or more

14 defendants during the Class Period. Angtrom has been injured in Michigan and is threatened

15 with further injury as a result of the violations alleged in this Complaint.

16          50.     In Home Tech Solutions, Inc. (“InHome Tech Solutions”) is a Minnesota

17 company with its principal place of business in Minnesota. In Home Tech Solutions purchased

18 resistors as stand-alone products in Minnesota from one or more distributors that purchased such

19 resistors as stand-alone products from one or more defendants during the respective Class

20 Periods. In Home Tech Solutions has been injured in Minnesota and is threatened with further

21 injury as a result of the violations alleged in this Complaint.

22          51.     Anthony Sakal is a Florida resident who purchased resistors as stand-alone

23 products in Florida from one or more distributors that purchased such resistors as stand-alone

24 products from one or more defendants during the Class Period. Mr. Sakal has been injured in

25 Florida and is threatened with further injury as a result of the violations alleged in this Complaint.

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 1         B.      Defendants

 2         52.     Defendant Panasonic Corporation (“Panasonic Corp.”) is a Japanese

 3 corporation with its principal place of business located at 1006 Oaza Kadoma, Kadoma-shi,

 4 Osaka 571-8501, Japan. Panasonic Corp. is one of the world’s leading manufacturers of resistors.

 5 Panasonic Corp.—directly and/or through its subsidiaries, which it wholly owned and/or

 6 controlled—manufactured, marketed, and/or sold resistors that were purchased throughout the

 7 United States, including in this District, during the Class Period.

 8         53.      Defendant Panasonic Corporation of North America (“PNA”), a wholly

 9 owned subsidiary of Panasonic, is a Delaware corporation with its principal place of business

10 located at Two Riverfront Plaza, Newark, New Jersey 07102. PNA—directly and/or through its

11 subsidiaries, which it wholly owned and/or controlled—marketed, distributed, and/or sold

12 resistors that were purchased throughout the United States, including in this District, during the

13 Class Period. Together, Panasonic Corp. and PNA are referred to as “Panasonic” or the

14 “Panasonic Defendants”.

15         54.     Defendant KOA Corporation (“KOA Corp.”) is a Japanese corporation with its

16 principal place of business located at 2-17-2 Midori-Cho, Fuchu-Shi, Tokyo 183-0006, Japan.

17 KOA Corp. is one of the world’s leading manufacturers of resistors. KOA Corp.—directly

18 and/or through its subsidiaries, which it wholly owned and/or controlled—manufactured,

19 marketed, and/or sold resistors that were purchased throughout the United States, including in

20 this District, during the Class Period.

21         55.     Defendant KOA Speer Electronics, Inc. (“KOA Speer”) is a Delaware

22 corporation with its principal place of business located at 199 Bolivar Drive, Bradford,

23 Pennsylvania 16701. KOA Speer is a wholly owned subsidiary of KOA Corp. Together, KOA

24 Corp. and KOA Speer are referred to as “KOA” or the “KOA Defendants”. KOA Speer—

25 directly and/or through its subsidiaries, which it wholly owned and/or controlled—marketed,

26 distributed, and/or sold resistors that were purchased throughout the United States, including in
27 this District, during the Class Period. Plaintiffs purchased linear resistors made by the KOA

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 1 Defendants, or one of their subsidiaries, as a stand-alone product from a distributor during the

 2 Class Period.

 3          56.     Defendant ROHM Co., Ltd. (“ROHM Co.”) is a Japanese corporation with its

 4 principal place of business located at 21 Saiin Mizosaki-cho, Ukyo-Ku, Kyoto 615-8585, Japan.

 5 ROHM Co. is one of the world’s leading manufacturers of resistors. ROHM Co.—directly

 6 and/or through its subsidiaries, which it wholly owned and/or controlled—manufactured,

 7 marketed, and/or sold resistors that were purchased throughout the United States, including in

 8 this District, during the Class Period.

 9          57.     Defendant ROHM Semiconductor U.S.A., LLC (“ROHM USA”) is a Delaware

10 limited liability corporation with its principal place of business located at 2323 Owen Street,

11 Suite 150, Santa Clara, California 95054. ROHM USA is a wholly owned subsidiary of ROHM

12 Co. Together, ROHM Co. and ROHM USA are referred to as “ROHM” or the “ROHM

13 Defendants”. ROHM USA—directly and/or through its subsidiaries, which it wholly owned

14 and/or controlled—marketed, distributed, and/or sold resistors that were purchased throughout

15 the United States, including in this District, during the Class Period. Plaintiffs purchased linear

16 resistors made by the ROHM Defendants, or one of their subsidiaries, as a stand-alone product

17 from a distributor during the Class Period.

18          58.     Defendant Hokuriku Electric Industry Co. (“HDK Japan”) is a Japanese

19 corporation with its principal place of business located at 3158 Shimo-okubu, Toyama City,

20 Toyama 939-2292, Japan. HDK Japan is one of the world’s leading manufacturers of linear

21 resistors. During the Class Period, HDK Japan manufactured, sold, and distributed linear

22 resistors either directly or through its business units, subsidiaries, agents, or affiliates to United

23 States purchasers.

24          59.     Defendant HDK America, Inc. (“HDK America”) is an Illinois corporation with

25 its principal place of business located at 200 N. Northwest Highway, Suite 201, Barrington,

26 Illinois 60010. HDK America is a wholly-owned subsidiary of HDK Japan. Together, HDK
27 Japan and HDK America are referred to as “HDK” or the “HDK Defendants”. HDK America

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 1 directly and/or through its subsidiaries, which it wholly owned and/or controlled—marketed,

 2 distributed, and/or sold resistors that were purchased throughout the United States, including in

 3 this District, during the Class Period. Plaintiffs purchased linear resistors made by the HDK

 4 Defendants, or one of their subsidiaries, as a stand-alone product from a distributor during the

 5 Class Period.

 6         60.      Defendant Kamaya Electric Co., Ltd. (“Kamaya Japan”) is a Japanese

 7 corporation with its principal place of business located in PSA Building 3F, 6-1-6 Chou, Yamato-

 8 shi Kanagawa, 242-0021, Japan. During the Class Period, Kamaya Japan manufactured, sold,

 9 and distributed linear resistors either directly or through its business units, subsidiaries, agents,

10 or affiliates to United States purchasers.

11         61.     Defendant Kamaya Inc. (“Kamaya America”) is a subsidiary of Kamaya Japan

12 with its principal place of business located at 6407 Cross Creek Boulevard, Fort Wayne, Indiana

13 46818. Kamaya Inc. maintains a sales office at 4163 Cleveland Ave #1 San Diego, CA 92103,

14 and a warehouse at 28-A Concord Street, El Paso, TX 79906. Kamaya America is a wholly

15 owned subsidiary of Kamaya Japan. During the Class Period, Kamaya America – either directly

16 or through its business units, subsidiaries, agents or affiliates – sold and distributed to United

17 States purchasers of linear resistors manufactured by certain business units, subsidiaries, agents,

18 or affiliates of its corporate parent, Kamaya Japan. Together, Kamaya Japan and Kamaya

19 America are referred to as “Kamaya” or the “Kamaya Defendants”. Kamaya America directly

20 and/or through its subsidiaries, which it wholly owned and/or controlled—marketed, and/or sold

21 resistors that were purchased throughout the United States, including in this District, during the

22 Class Period. Plaintiffs purchased linear resistors made by the Kamaya Defendants, or one of

23 their subsidiaries, as a stand-alone product from a distributor during the Class Period.

24 VII.    AGENTS AND CO-CONSPIRATORS

25         62.     Each Defendant acted as the principal of, or agent for, the other Defendants with

26 respect to the acts, violations, and common course of conduct alleged herein.
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 1          63.     Various persons, partnerships, sole proprietors, firms, corporations, and

 2 individuals not named as Defendants in this lawsuit, the identities of which are presently

 3 unknown, have participated as co-conspirators with the Defendants in the offenses alleged in this

 4 Complaint, and have performed acts and made statements in furtherance of the conspiracy, or in

 5 furtherance of the anticompetitive conduct. Plaintiffs reserve the right to name some or all of

 6 these persons and entities as Defendants at a later date.

 7          64.     Whenever in this Complaint reference is made to any act, deed, or transaction of

 8 any corporation or limited liability entity, the allegation means that the corporation or limited

 9 liability entity engaged in the act, deed or transaction by or through its officers, directors, agents,

10 employees, or representatives while they were actively engaged in the management, direction,

11 control, or transaction of the corporation’s or limited liability entity’s business or affairs.

12 VIII. FACTUAL ALLEGATIONS

13          A.      The Characteristics of the Resistors Market Render Collusion Plausible
14          65.     The characteristics of the resistors industry in the United States are conducive to

15 price-fixing and have rendered collusion plausible.          Industry characteristics are critically

16 important to determining the likelihood of collusion in that industry. Collusion is more plausible

17 in industries where: (1) high barriers to entry exist; (2) demand is inelastic; (3) the market is

18 highly concentrated; (4) the products are homogenous; (5) there are ample opportunities to

19 conspire; (6) purchasers lack buying power; and (7) there is a history of collusive behavior.

20                  1.      The Resistors Industry Has High Barriers to Entry

21          66.     The resistors industry has high barriers to entry that facilitate the formation and

22 maintenance of a cartel. Collusion between manufacturers that effectively increases product

23 prices above competitive levels would attract new entrants seeking to benefit from supra-

24 competitive pricing. New entrants are less likely, however, where there are significant barriers

25 to entry.

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 1          67.    There are substantial barriers that preclude, reduce, or make more difficult entry

 2 into the resistors market. Industry analysts state that “[o]nly through massive economics of scale

 3 is it possible to achieve profitability in the thick film chip resistor markets….”

 4          68.    A potential new entrant faces costly and lengthy start-up costs, including multi-

 5 million dollar costs associated with research and development, manufacturing plants and

 6 equipment, energy, distribution infrastructure, skilled labor, and long-standing customer

 7 relationships with existing manufacturers.

 8          69.    Resistors are expensive to manufacture. The cost to create the appropriate

 9 manufacturing facilities for resistor manufacturing are also very high and prohibitive to new

10 entrants breaking into the market. For instance, in 2011, KOA Corporation planned to invest 2.3

11 billion JPY into the construction of a new resistors facility, a figure that does not even account

12 for expenses associated with land acquisition and production.

13                 2.      The Demand for Resistors Is Inelastic.

14          70.    “Elasticity” is a term used to describe the sensitivity of supply and demand to

15 changes in one or the other. For example, demand is said to be “inelastic” if an increase in the

16 price of a product results in only a small decline in the quantity sold of that product, if any.

17          71.    For a cartel to profit from raising prices above competitive levels, demand must

18 be relatively inelastic at competitive prices.      Otherwise, increased prices would result in

19 declining sales, revenues, and profits, as customers purchased substitute products or declined to

20 buy altogether. Inelastic demand is a market characteristic that facilitates collusion, allowing

21 producers to raise their prices without triggering customer substitution and lost sales revenue.

22          72.    Demand for resistors is highly inelastic because there are no close substitutes for

23 these products. The demand for resistors will continue to rise due to increasing use of PCs,

24 notebooks, ultrabooks, smartphones, and other consumer and electronic products that meet basic

25 requirements in day-to-day life. No other type of passive electrical component (e.g., inductors

26 and capacitors) can serve as a substitute or a functional equivalent to a resistor in an electric
27 circuit. Accordingly, a purchaser that is either an OEM or an Electronic Manufacturing Services

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 1 (“EMS”) provider cannot design quickly an electric circuit to bypass its need for a resistor with

 2 a certain resistance.

 3         73.                                    The pricing of linear resistors as a whole has experienced a dramatic rise since

 4 2002. During this time period, demand for linear resistors has generally increased, and has thus

 5 been relatively inelastic. Demand for resistors also did not fluctuate in response to the recession

 6 of 2008 or the earthquake and flooding in Asia in 2011.

 7

 8                                                                     Change in Prices, 2000-15 (Quarterly)
                                        140

 9
                                        130

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                                        120

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                 Price Index (Base = 2010)




                                        110

12
                                        100

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                                             90
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                                             80
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                                             70
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                                             60
17                                             2000   2001   2002   2003   2004   2005   2006   2007   2008   2009   2010   2011   2012   2013   2014   2015


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 1 continuing future success (the firm’s future share of the total cartel profits if collusion were to

 2 continue successfully).

 3          76.       As the resistors market is dominated by a few companies that control the lion’s

 4 share of these markets, the continuing agreements, understandings, combinations or conspiracies

 5 to fix, raise, maintain and/or stabilize prices, and to allocate market shares for resistors are

 6 effective at setting the prices of resistors at artificially high, supra-competitive prices.

 7          77.       A concentrated market is more susceptible to collusion and other anticompetitive

 8 practices. The resistors market was concentrated during the Class Period. In fact, throughout

 9 the Class Period, Defendants collectively maintained high market shares.

10                    4.     Resistors Are Homogenous and Commoditized Products.

11          78.       Homogenous products enhance collusion because they enable manufacturers to

12 more easily negotiate agreement on prices and/or quantities and facilitate monitoring. Resistors

13 are homogenous products or commodities because their characteristics and qualities are

14 essentially uniform across different manufacturers. Although different sub-types of resistors are

15 not interchangeable, within each category, resistors are designed to be interchangeable.

16          79.       The homogenization of resistors is aided by industry-standard product

17 specifications. The principal dimensions of product differentiation in resistors are well known

18 and easily quantifiable. Therefore, resistors can be purchased and sold in large volume quantities

19 by manufacturers and distributors based on common size and technology characteristics. Indeed,

20 manufacturers and distributors maintain very detailed product catalogs and substitution guides

21 that outline rules for swapping out resistors made by other Defendants based on their common

22 characteristics.

23          80.       In economics, a commodity is a basic item or good used in commerce that is

24 interchangeable with other goods of the same type. Commodities are most often used as inputs

25 in the production of other goods or services. Product homogeneity facilitates collusion more

26 than product differentiation. Examples of traditional commodities are sugar, wheat, and rubber.
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 1 As technologies and markets for goods mature, it is more likely to be considered a commodity,

 2 at least in its more basic implementations.

 3          81.    While there are various forms of linear resistors, the product for which each linear

 4 resistor type is used (e.g., cell phones, personal computers, and home appliances) are highly

 5 standardized. Such standardization allows the production of thick film resistors (the largest

 6 category of linear resistors) to be highly automated to yield large amounts of output.

 7                 5.      Sales of Resistors

 8          82.    Once a resistor is manufactured by a vendor, it must be distributed to the customer.

 9 Resistor sales are made either directly to an OEM or to an EMS, or they are sold through an

10 authorized distributor (e.g., TTI, Digi-Key, Future, Arrow, Avnet, or WPG). In the Americas

11 and Europe, distributors now account for slightly more than half of regional sales. This type of

12 distribution network is made possible by the fact that resistors are highly standardized. This

13 further enables resistors to be purchased in large quantities by distributors and then sold by those

14 distributors based on common size and characteristics.

15          83.    Resistors straddle the line between traditional commodities and emerging

16 commodities because the resistors market is still developing. As resistors are in almost every

17 electronic device—and as the electronic device market is expanding due to the exponential

18 growth in computing technology—the established resistors market is still evolving.

19          84.    The United Nations (“UN”) Commodity Trade Statistics Database, the largest

20 depository of international trade data, includes resistors on its Commodity List. Over 170

21 reporter countries provide the UN Statistics Division with their annual international trade

22 statistics data detailed by commodities and partner countries. The UN and UN member countries

23 therefore consider resistors as commodities.

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                  Source: http://comtrade.un.org/db/mr/rfCommoditiesList.aspx?px=H1&cc=8533
13                                         (last visited August 2, 2015).
14

15          85.      Further, according to some market analysts, the ubiquity of smartphones and
16 personal computers and the consistency of features from one brand to another means that the

17 products are becoming commodities.          The commoditization of smartphones and personal
18 computers has increased the commoditization of resistors.

19          86.      Markets for commodity products are conducive to collusion. Typically, when a
20 product is characterized as a commodity, competition is based principally on price, as opposed

21 to other attributes such as product quality or customer service.            This factor facilitates
22 coordination because firms wishing to form a cartel can more easily monitor and detect

23 defections from a price-fixing agreement where any observed differences in prices are more

24 likely to reflect cheating on the conspiracy than any other factor which might affect pricing, such

25 as special product characteristics, service or other aspects of the transaction.

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            B.      Opportunities in the Industry to Conspire
 1
                    1.     Defendants Have Ample Opportunities to Conspire.
 2

 3          87.     Trade associations provided opportunities for Defendants to meet frequently and

 4 exchange information to facilitate collusion. Defendants are members of a number of trade

 5 associations in the United States, Asia and Europe. Their overlapping membership in various

 6 trade associations also provided incentive for cartel members to stay within the illegally agreed

 7 upon price framework, as they could monitor one another’s activities in the resistors market and

 8 punish non-compliance. Defendants’ participation in trade associations helped facilitate their

 9 collusion.

10          88.     One such organization is the Electronic Components Industry Association

11 (“ECIA”), which is located in Alpharetta, Georgia. Several of the Defendants are members of

12 this organization, including KOA, Panasonic, and ROHM. They regularly meet to discuss

13 matters of mutual concern.

14          89.     By virtue of their membership in such organizations, Defendants have the

15 opportunity to meet, have improper discussions under the guise of legitimate business contacts,

16 and perform acts necessary for the operation and furtherance of the conspiracy. ECIA, for

17 example, hosts an annual “Executive Conference.” The 2014 conference was held in Chicago,

18 Illinois, and the 2015 conference is also scheduled to be held in Chicago.

19          90.     Trade associations and other common forums facilitated Defendants’ collusion.

20 Trade association meetings provide an excellent cover for meeting and communicating about the

21 pricing of resistors and to conspire to fix, raise, maintain and/or stabilize prices, and to allocate

22 market shares for resistors.

23          91.     Defendants also regularly met and exchanged competitively, sensitive and

24 confidential business information, including prices, at meetings of JEITA – the Japanese

25 Electronics and Information Technology Industry Association. Defendants Panasonic, Rohm,

26 KOA, HDK, and Kamaya, were all members of JEITA’s Passive Components Committee.
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 1         92.     At JEITA Passive Components Committee meetings, Defendants met at regular

 2 intervals where members of the committee provided each other with information, including

 3 pricing and production capacity information. Before and after the official JEITA meetings,

 4 Defendants held smaller, bilateral meetings where they continued to exchange information and

 5 engage in further discussions concerning the pricing and supply of resistors.

 6         93.     Members of JEITA were also expected to submit and exchange detailed data

 7 regarding their resistors’ sales. For example, at a July 2003 JEITA meeting of the Passive

 8 Components Committee, which included Defendants Panasonic, Rohm, KOA, HDK, and

 9 Kamaya, and other co-conspirators, Defendants discussed the form and information to be

10 submitted in future information exchanges with committee members. Under No. 7 of the form,

11 entitled “Common issues for the industry”, members were expected to discuss and provide

12 information regarding “prices in Japan and overseas [and] requests by customers.” Committee

13 members wanted to exchange this information in an effort to coordinary their prices and

14 production as much as possible.

15         94.     In August 2006, Panasonic’s Hourai wrote to Hashimoto (his Panasonic

16 colleague) that both Panasonic and ROHM were seeking to sell resistors to Nokia, and because

17 he had heard from another Panasonic employee that Hashimoto had directly exchanged resistor

18 price information with ROHM, he wanted to know if Hashimoto would check the price

19 information with ROHM. Hourai then listed his proposals for the prices that he wanted

20 Hashimoto to confirm with ROHM. Hourai wrote a later email to Panasonic employees Minouru

21 Sowa, Hiroaki Kamioka, and Hideki Matsuhashi about pricing for Nokia. “Yesterday, related

22 to handling prices for Nokia, I had GM Hashimoto contact the personal responsible for General

23 Gobal at R Co.” “R Co.” was used in Hourai’s email as a code word for competitor Defendant

24 ROHM. “The following comment came back from R. Co.: ‘We plan to raise prices to Nokia for

25 the 1005 type [resistor.]’” Hourai warned recipients not to forward his email.

26         95.     Defendants, including Panasonic, Rohm, HDK and KOA also attended informal

27 trade association events named “CR Committee Meeting.” In or around May 2007, employees

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 1 of Pananonic (Nakagawa and Kamioka), Rohm (Ikeda and Kaida), HDK (Shimada), Kamaya

 2 (Miura), and KOA (Misawa and Kitabayashi) met at a CR Committee Meeting and discussed

 3 pricing strategies for Nokia. The participants in the meeting met and discussed the need for the

 4 three of them to work together as a Japanese “alliance.” Mr. Kamioka informs his colleagues

 5 that he will discuss the matter further with Mr. Kaita (ROHM) at the upcoming JEITA meeting.4

 6         96.      On or around November 30, 2007, at a Resistors Committee Meeting, that

 7 occurred in Nagoya City, resistors manufacturers, including Defendants Panasonic, KOA, Rohm,

 8 HDK, and Kamaya, met and discussed production capacity as a means of limiting supply and

 9 thereby raising prices. The participants in the meeting also discussed various optimal pricing

10 levels for certain resistors. Kamioka attended this meeting for Panasonic. When he forwarded

11 the minutes of this meeting to his colleagues within Panasonic, he implored them to “treat [it] as

12 confidential.”    At that meeting, KOA also discussed increasing prices, along with other

13 competitors. The Defendants also repeatedly discussed the United States market conditions

14 when engaged in information exchanges and coordination of resistors prices.

15         97.      In a “Weekly Operation Report” circulated by Panasonic employee Yoshinori

16 Hourai, Mr. Hourai reported to his colleagues what occurred at an August 27, 2008 JEITA

17 Passsive Components Committee meeting concerning resistors. The information in the report

18 included information that occurred in the past, as well as forecasts for future sales. Attendees at

19 the meeting included Panasonic, Rohm, KOA, and others.

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21

22

23         98.      KOA President Mukaiyama and representatives from other Defendants at that

24 meeting discussed resistor market trends, market trends for end-user markets, including the

25 United States, and pricing strategies for resistors. Mr. Hourai’s report notes that competitors

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 1 discussed future pricing strategies concerning resistors prices and states that 50% of resistors

 2 manufacturers are implementing activities to raise prices or to stop prices from falling. In

 3 addition to expressing a general need to raise prices or halt price declines, specific manufacturers

 4 of resistors discussed their pricing strategies for raising or maintaining prices at that meeting.

 5          99.    In a September 2008 email chain, representatives from Defendants Panasonic

 6 (Hourai, Kamioka, and Hashimoto), ROHM (H. Kaida and Katabushi), HDK (K. Shimada,

 7 Nomura), and KOA (Misawwa and Nonomura), planned to meet in October for an “Information

 8 exchange.” The compeitors used code words to describe the meeting, claiming that it was an “R

 9 Meeting.” On information and belief, the competitors exchanged pricing information and

10 discussed pricing resistors at the meeting scheduled for October of 2008. Miura from Kamaya

11 was invited to the meeting but could not attend.

12          100.   Moreover, in responding to certain customers’ requests for quotations, Panasonic

13 often sought and obtained KOA’s pricing information.

14          101.   Handwritten notes from JEITA meetings from an employee of Defendant Rohm

15 indicate that there were information exchanges at JEITA meetings and that KOA and others were

16 starting a 7% price increase.

17          102.   Other handwritten meeting minute notes from Panasonic’s Hourai, indicate that

18 at an August 2008 meeting, competitors—including Defendants Panasonic, ROHM, HDK and

19 KOA—met and coordinated pricing strategies. For example, HDK was given instrutions to raise

20 prices in accord with the understandings competitors reached at the JEITA meetings.

21          103.   There is further evidence that participants in JEITA meetings regarding resistors,

22 used those meetings to coordinate future pricing. Panasonic’s Hourai’s minutes from meetings

23 in or around August 2008 indicate that the participants in that meeting coordinated their future

24 pricing decisions. For example, the notes indicate that for HDK “there has been a direction to

25 increasing pricing . . .” For Alpha, the notes indicate that it will “increase price in the European

26 market” and that Susumu “will consider price increase” to certain resistors’ products. At that
27 meeting, KOA also discussed increasing prices, along with other competitors. The Defendants

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 1 also repeatedly discussed the United States market conditions when engaged in information

 2 exchanges and coordination of prices.

 3          104.   Further, at a JEITA meeting in or around October of 2008, Hourai’s notes indicate

 4 that HDK discussed future pricing and wanted its competitors to sell resistors at a certain level.

 5 Hourai, from Panasonic, appears to have voiced his suggested price at that meeting. At another

 6 meeting in November of 2008, Hourai’s notes indicate that the competitors further discussed

 7 pricing.

 8          105.   Handwritten notes from a ROHM employee of a JEITA meeting indicate that the

 9 ROHM employee needed to “discuss again with KOA the price difference of . . . resistors.”

10          106.   Similarly, notes from JEITA meetings in or around 2013 show that Defendants’

11 agreements, understandings, and discussings regarding resistors’ pricing and supply continued.

12 Panasonic’s notes indicate a meeting with Defendant Kamaya wherein the parties reached

13 understandings concerning limiting production capacity.

14          107.   In a 2013 Report regarding the activities of JEITA’s Electronics Components

15 Board, authored by KOA’s Yamashita, he states that the “main purpose [of the Board] is internal

16 information exchange and industry exchange.” The “common functions” of the Board, as listed

17 in the report, are “[t]ransmission of industry information” and “[g]rasping trends in supply and

18 demand.”

19          108.   At one point, JEITA’s Passive Components Committee became concerned that

20 its members’ conduct violated the antitrust laws. At that meeting, the members—including

21 Defendants—discussed that the “current activities may be problematic.”

22          109.   Later in the Class Period, JEITA leadership sought to engage in a review of its

23 own activities over concerns that members had been, and continue to, engage in anticompetitive

24 conduct by discussing production capacity and prices, including raising and maintaining prices.

25 Regarding “antitrust law”, the report stated that “[t]here are a number of issues with the specifics

26 of current activities, so we are considering reviewing activities . . .” On information and belief,
27

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 1 JEITA hired an outside attorney to review its activities and concerns that members had engaged

 2 in anticompetitive conduct.

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16         112.    Employees of Defendants that attended JEITA meetings and other conspiratorial

17 meetings include, but are not limited to, the following: Panasonic—Hourai, Hashimoto, Miyoshi,

18 Itsuki, Kuwada, Niita, Matsumoto, Takeuchi, Kamioka and others; Rohm—Umida, Wantanabe,

19 Kaida, Maeda and others; KOA—Iga, Misawa, Kitabayashi and others; HDK—Nomura,

20 Takakura, Shimada and others; Kamaya—Kawaguchi, Futagawa, Niikawa, Miura and others.

21                 2.      Resistor Manufacturers Had Relationships in Other Price-Fixed
                           Markets.
22

23         113.    Most of the resistor manufacturers also produce several other types of

24 components, not just resistors. For instance, Panasonic produced lithium ion batteries, cathode

25 ray tubes, capacitors and optical disk drives. ROHM also produced capacitors. Capacitors,

26 optical disk drives, cathode ray tubes, lithium ion batteries, and now resistors, have each been
27 the subject of price-fixing investigations.

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            C.      Defendants Had a Common Motive to Conspire
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            114.    As resistors are commodities, price is the most obvious differentiation among
 2
     them for purchasers. In a market of this nature, with trillions of components being manufactured
 3
     and sold a year at relatively inexpensive individual prices, there is a huge incentive to fix,
 4
     stabilize, maintain and raise the prices of the components to supra-competitive levels through
 5
     illegal conspiratorial agreements. By foregoing competition, each manufacturer could still
 6
     guarantee themselves massive profits in such a high volume market. This anticompetitive
 7
     conspiracy causes substantial harm to consumers, to competition, and to United States commerce.
 8
            D.      Indirect Purchasers Of Resistors Lacked Buying Power.
 9
            115.    Standard economics holds that when there are many buyers in a market for a
10
     particular good, that good is more susceptible to effective cartel behavior. The incentive for
11
     cartel members to undercut the conspiracy is lower when there are many smaller purchasers
12
     because while each potential sale is small, disrupting the cartel can carry large penalties. A cartel
13
     member, thus, is incentivized to avoid the collapse of the entire price-setting agreement, and the
14
     loss of the supra-competitive profits on all sales in that market when there are many buyers.
15
     Conversely, a cartel’s ability to raise prices can be thwarted in markets where buyers have
16
     significant negotiating power with sellers.
17
            116.    Resistors manufacturers sell their products to companies in audio-visual,
18
     communications, computers, peripherals, and home electronics businesses.                The largest
19
     consumer of resistors is the telecommunications industry (29 percent), followed by the
20
     Computers and Consumer Audio-Visual Industry.
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 1          117.                    Direct purchasers of resistors are generally distributors. Except for a few tier 1

 2 OEMs, most OEMs and EMS providers that make equipment for OEMs generally buy resistors

 3 from distributors. There are very few large OEMs who possess buying power and as to those

 4 companies, Defendants were motivated to conspire amongst themselves to keep bid prices high

 5 to avoid cutthroat price competition that would harm them all. Plaintiffs here are indirect

 6 purchasers that bought resistors from distributors and incorporated those resistors into other

 7 products. Large numbers of buyers with little buying power, both at the primary level (i.e.

 8 distributors) and the secondary level (i.e. individuals and entities that purchased from

 9 distributors) is the general rule in the resistors industry.

10          118.                    As set forth above, both direct and indirect purchasers in the resistor market

11 lacked buying power. Since there were many purchasers of resistors, it would have been easier

12 to form and maintain the cartel. This is because a large number of buyers would have made it

13 less likely that Defendant manufacturers would have cheated on the agreement to artificially

14 inflate prices, because the loss of supra-competitive profits on their sales of resistors outweighed

15 the potential additional profits of raising sales to a handful of modestly-sized customers.

16          119.                    The market for resistors in the United States accounts for a significant portion of

17 the global resistors market. It is currently estimated at about $959 million. The Americas

18 therefore account for about 23 percent of the global market at present.

19
                                                  Resistors: Import Values, 2003-13
20
                                  $1,200
21
                                  $1,000                        $938                                             $959
                                                                                                          $879
22                                                                                                 $816
                                                                       $777   $771          $787
             In Millions of USD




                                   $800
23                                                $677   $668
                                           $617
                                   $600                                              $524
24

25                                 $400

26                                 $200

27
                                      $-
                                           2003   2004   2005   2006   2007   2008   2009   2010   2011   2012   2013
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 1                       Source: United States International Trade Commission (USITC)

 2          E.      Defendants Colluded To Keep The Price Of Resistors Elevated During The
                    Class Period.
 3

 4        120.      As alleged in this Complaint, Defendants engaged in a conspiracy to fix, raise,

 5 stabilize, and maintain the price of resistors throughout the Class Period. Defendants’ acts,

 6 practices, and course of conduct in furtherance of their conspiracy evolved over time and

 7 included, but were not limited to the following: coordinating prices for specific customers and

 8 products; engaging in continuous communications on confidential and proprietary business

 9 matters to eliminate price competition; allocating market shares; restricting supply of resistors;

10 using input costs as a pretext for industry-wide pricing formulas; and concocting mechanisms to

11 nullify competitive sales processes to their customers.

12        121.      Defendants effectively moderated and even negated the downward pressure on

13 resistor prices caused by price competition, oversupply, technological advancements, and

14 demand reduction.

15                  1.       Illustrative Examples of Defendants’ Conspiratorial Conduct

16        122.      Plaintiffs reallege and reincorporate each and every allegation in this Complaint

17 as though fully set forth in this section.

18        123.      As discussed, Defendants utilized their positions as members of the Passive

19 Components Committee at JEITA and other formal and informal trade association events, to

20 meet, discuss prices and agree on pricing strategies for resistors. In addition to discussing and

21 agreeing on pricing strategies for resistors, Defendants also met and discussed each

22 manufacturer’s production capacity. It was important for Defendants to meet and understand

23 each other’s production capacity because to the extent each Defendant could limit its production

24 of resistors, this would result in the desired price increases.

25        124.      For example, at a July 2003 JEITA meeting of the Passive Components

26 Committee meeting, which included Defendants Panasonic, Rohm, KOA, HDK, and Kamaya,
27 and other co-conspirators, Defendants discussed the form and information to be submitted in

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 1 future information exchanges with committee members. Under No. 7 of the form, entitled

 2 “Common issues for the industry”, members were expected to discuss and provide information

 3 regarding “prices in Japan and overseas [and] requests by customers.” Committee members

 4 wanted to exchange this information in an effort to coordinary their prices and production as

 5 much as possible.      These aforementioned Defendants continued meeting through JEITA

 6 throughout the class period.

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21       128.      Defendants, including Panasonic, Rohm, HDK and KOA also attended informal

22 trade association events named “CR Committee Meeting”. For instance, in or around May 2007,

23 employees of Pananonic, Rohm, and KOA, met at a CR Committee Meeting and discussed

24 pricing strategies for Nokia. The participants in the meeting met and discussed the need for the

25 three of them to work together as a Japanese “alliance.” Mr. Kamioka informed his colleagues

26 at Panasonic that he would discuss the matter further with Mr. Kaita (ROHM) at the upcoming
27 JEITA meeting.

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 1        129.     In or around November 2007, KOA, ROHM, HDK, Panasonic and other co-

 2 conspirators met at a JEITA meeting on a subcommittee specifically designed to discuss resistors.

 3 At the meeting, the conspirators explicitly discussed production capacity and pricing. With

 4 respect to production capacity, KOA and HDK discussed the fact that neither had any excess

 5 production capacity, while ROHM and other coconspirators still had production capacity.

 6 Regarding pricing, the competitors shared their view as to the optimal pricing for certain resistors.

 7 Despite it being 2007, for model year 2012 and over, the competitors discussed that a price rise

 8 would be implemented. At the meeting, the competitors also discussed the optimal level of

 9 pricing.

10        130.     On or around November 30, 2007, at a Resistors Committee Meeting, that

11 occurred in Nagoya City, Defendants, including Panasonic, KOA, ROHM, HDK and Kamaya,

12 met and discussed production capacity as a means of limiting supply and thereby raising prices.

13 The participants in the meeting also discussed various optimal pricing levels for certain resistors.

14 Kamioka attended this meeting for Panasonic. When he forwarded the minutes of this meeting

15 to his colleagues within Panasonic, he implored them to “treat [it] as confidential.” At that

16 meeting, KOA also discussed increasing prices, along with other competitors. The Defendants

17 also repeatedly discussed the United States market conditions when engaged in information

18 exchanges and coordination of resistors prices.

19        131.     On or around April 2008, Panasonic employee Yoshihiro Hashimoto sent an

20 email to a number of colleagues from Panasonic reporting on a meeting he had with

21 representatives from KOA.        He reported to his colleagues that he received “confidential

22 competitor information” from KOA. Hashimoto’s email indicated that he and the representative

23 from KOA discussed pricing strategies and that there would be continued activities to raise prices

24 as to overseas customers.

25        132.     The last paragraph of Hashimoto’s email also indicates that he had a separate

26 meeting with “Company R” to exchange information. “Company R” is a code word for ROHM
27 and at the meeting the parties discusses pricing strategies for resistors.

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 1        133.     Similarly, in Panasonic email chains regarding future pricing for a customer,

 2 employees Sato and Kamioki discuss potential future pricing strategies while taking into account

 3 advanced information they had obtained regarding KOA’s pricing.

 4        134.     In a “Weekly Operation Report” circulated by Panasonic employee Yoshinori

 5 Hourai, Mr. Hourai reported to his colleagues what occurred at an August 27, 2008 JEITA

 6 Passsive Components Committee meeting concerning resistors. The information in the report

 7 included information that occurred in the past, as well as forecasts for future sales. Attendees at

 8 the meeting included, but were not limited to, Panasonic, ROHM, KOA and others.

 9        135.     KOA President Mukaiyama and representatives from other Defendants at that

10 meeting discussed resistor market trends, market trends for end-user markets, including the

11 United States, and pricing strategies for resistors. Mr. Hourai’s report notes the fact that

12 competitors discussed future pricing strategies concerning resistors prices and states that 50% of

13 resistors manufactures are implementing activities to raise prices or to stop prices from falling.

14 In addition to expressing a general need to raise prices or halt price declines, specific

15 manufactuers of resistors discussed their pricing strategies for raising or maintaining prices at

16 that meeting.

17        136.     There is further evidence that participants in JEITA meetings regarding resistors,

18 used those meetings to coordinate future pricing. Panasonic’s Hourai’s minutes from meetings

19 in or around August 2008 indicate that the participants in that meeting coordinated their future

20 pricing decisions. For example, the notes indicate that for HDK “there has been a direction to

21 increasing pricing . . .” For Alpha, the notes indicate that it will “increase price in the European

22 market” and that Susumu “will consider price increase” to certain resistors’ products.

23        137.     In a September 2008 email chain, representatives from Defendants Panasonic

24 (Hourai, Kamioka, and Hashimoto), ROHM (H. Kaida and Katabushi), HDK (K. Shimada and

25 Nomura), KOA (Misawwa and Nonomura), planned to meet in October for an “Information

26 exchange.” The competitors used code words to describe the meeting, claiming that it was an
27 “R Meeting.” On information and belief, the competitors exchanged pricing information and

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 1 discussed pricing resistors at the meeting in October of 2008. Kamaya’s Miura was invited to

 2 the meeting but could not attend.

 3       138.      In Septmember 2008, Shimada from HDK corresponded with Hourai from

 4 Panasonic concerning the pricing to be provided on resistors to an American company. The email

 5 indicates that they previously exchanged “valuable information.” Hourai implores Shimada to

 6 avoid reducing the price to this potential customer as far as possible because the customer’s

 7 requested price “is not very profitable.”

 8       139.      Handwritten notes from JEITA meetings from an employee of ROHM indicate

 9 that there were information exchanges at JEITA meetings and that KOA and others were starting

10 a 7% price increase.

11       140.      Further, at a JEITA meeting in or around October of 2008, Hourai’s notes indicate

12 that HDK discussed future pricing and wanted its competitors to sell resistors at a certain level.

13 At another meeting in November of 2008, Hourai’s notes indicate that the competitors further

14 discussed pricing.

15       141.      In December of 2008, JEITA’s Passive Components Committee became

16 concerned that its members’ conduct violated the antitrust laws. At that meeting, the members—

17 including Defendants—discussed that the “current activities may be problematic.”

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24       143.      In or around September of 2009, Mr. Hourai emailed internal Panasonic emploees

25 concerning pricing to a major cell phone manufacturer that had been doing business with

26 “Company R” (i.e., Defendant ROHM). Hourai states that the day before, Panasonic Director
27 Hashimoto contacted ROHM’s global controller regarding their prices for this particular

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 1 customer. Defendant ROHM discussed its strategy of attempting to raise the prices for this

 2 customer with Panasonic.

 3       144.     In previous Panasonic internal correspondence, Mr. Hourai of Panasonic

 4 indicates that Panasonic’s Hashimoto regularly exchanges pricing and other competitively

 5 sensitive information with employees of ROHM to reach common ground on pricing.

 6       145.     An employee from ROHM held a meeting where he indicated that he had

 7 obtained extensive pricing information from Kamaya in relation to customers.

 8       146.     KOA employees discussed pricing strategies related to a particular customer and

 9 circulated a chart that included the coordinated pricing positions of Vishay and Yageo with

10 respect to the same customer.

11       147.     Notes from JEITA meetings in or around 2013 show that Defendants’ discussing

12 of resistors’ pricing strategies continued. Panasonic’s notes indicate a meeting with Kamaya

13 wherein the parties discussed limiting production capacity.

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 1         F.     Defendants Utilized “R Meetings” to Further their Conspiracy.

 2         150.   Cartel members used the term “R Meetings” to refer to meetings when they met

 3 to exchange competitively sensitive information and reach agreements as to price increases. R

 4 Meetings often happened around the time of JEITA meetings.

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21         152.

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            G.      Defendants Conspiratorial Meetings and Efforts Occurred Outside Japan
 1                  and Took Many Forms.
 2
            153.    Defendants did not limit their cartel meetings to Japan. Nor were Defendants’
 3
     cartel activities limited to JEITA and R Meetings. In the paragraphs below, Plaintiffs allege
 4
     certain meetings that Defendants attended (and groups of which they were a part) to further the
 5
     goals of their conspiracy, namely artificially maintaining and raising resistors prices.
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            154.
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            156.
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20         161.                              Members of the resistors cartel were fond of golf and

21 used such golf meetings to further the aims of the cartel.

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 3        162.

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     03820-JD                                                   44
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 3         168.   Bilateral Information Exchanges: In addition to group meetings, Defendants

 4 also engaged in bilateral communications in which they shared pricing, supply, and production

 5 information in furtherance of the conspiracy’s goals.5

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     SECOND AMENDED CONSOLIDATED CLASS ACTION COMPLAINT; 3:15-CV-
     03820-JD                                                   45
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 4         173.   As alleged above, Defendants had informal bi- and multi-lateral cartel meetings,

 5 before and after, official JEITA meetings, where they exchanged competitively sensitive

 6 information and reached agreements as to the pricing of resistors. The following lists dates on

 7 which resistors-related JEITA meetings occured after early 2009 that Defendants’

 8 representatives attended:

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18         174.   CEATEC: The Combined Exhibition of Advanced Technologies (“CEATEC”)

19 is an annual trade show in Japan; it is Japan’s largest IT and electronics exhibition and

20 conference.

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28              .
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     03820-JD                                                   46
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                     1.      Illustrative Examples of U.S. Subsidiaries Engaging in
 1                           Conspiratorial Conduct
 2
             175.    Defendants utilized their U.S. subsidiaries, also Defendants in these actions, to
 3
     further the aims of the cartel.
 4
             176.    Defendants’ U.S. subsidiaries had direct contact with each other to discuss pricing
 5
     and coordinating behavior.
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             177.    Information sharing streamed back and forth across the Pacific. Defendants’ U.S.
14
     Subsidiaries gathered information from their ostensible competitors in furtherance of the
15
     conspiracy and sent it back to their corporate parents in Japan to ensure compliance with the
16
     agreements reached abroad.
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             178.    Another example is a June 2010 email
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     SECOND AMENDED CONSOLIDATED CLASS ACTION COMPLAINT; 3:15-CV-
     03820-JD                                                   47
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 1          179.    In a May 2010 email chain,

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 6          180.    Likewise, U.S.-based employees engaged in collusive conduct with other cartel

 7 members.

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12             H.        Defendants’ Corporate Families Acted as Single Enterprises; Defendant
                         Parent Companies Exercised Substantial Control over Their U.S.
13                       Subsidiaries.

14          181.    When Defendants reached agreement on fixing, raising, maintaining, and/or
15 stabilizing prices of resistors—whether as a result of formal or informal cartel meetings, or

16 during ad hoc bilateral or tri-lateral meetings arranged to enforce, implement, or effectuate cartel

17 purposes and agreements—each of the Defendants meant for their collusive agreements to

18 impact the pricing for all resistors subject to the cartel’s anticompetitive efforts, regardless of

19 where they were sold, and regardless of which member of the cartel member’s corporate family

20 sold the resistors.

21          182.    Defendants sell, market, and distribute resistors as part of a single, integrated
22 global enterprise. Each Defendant sells its resistors around the world, including in the United

23 States. Accordingly, to achieve the cartel’s anticompetitive aims, Defendants effectuated the

24 cartel by establishing pricing on their resistors in all markets—including the United States—in

25 which they sell resistors. The cartel’s scheme would not have been effective in a global market

26 were they to sell resistors at a lower price in some locations – in the United States, for example
27 – as compared to others – in Japan, for example.

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 1          183.    The Japan-based defendants – Hokuriku Electric Industry Co. (HDK Japan),

 2 Kamaya Electric Co. (Kamaya Japan), KOA Corporation (KOA Corp.), Panasonic Corporation

 3 (Panasonic Corp.), and ROHM Co. Ltd. (ROHM Co.)6 – established subsidiaries in the United

 4 States not only to market, sell, and distribute their resistors in the United States, but also to

 5 effectuate and achieve the cartel’s aims and purposes. Without doing so, these parent corporate

 6 entities in Japan would have had to perform such functions themselves; they chose not to do so

 7 and instead established corporate subsidiaries and affiliates in the United States that perform

 8 functions at the direction of, and are controlled by, the parent companies’ officers and managers

 9 in Japan.

10          184.    These U.S. subsidiaries – HDK America, Inc. (HDK America), Kamaya Inc.

11 (Kamaya America), KOA Speer Electronics, Inc. (KOA Speer), Panasonic Corporation of North

12 America (PNA), and ROHM Semiconductor U.S.A., LLC (ROHM USA)7 – have no authority

13 to set prices below the prices for resistors agreed to among the cartel’s members; though it may

14 be true that, from time to time, U.S.-based personnel had authority to charge prices higher than

15 that those set by the cartel. For these U.S. subsidiaries, pricing authority was held by their Japan-

16 based defendant corporate parent, or the Parent Defendant’s designated representative in the

17 United States.

18          185.    Because their Japan-based Parent Defendants had significant control over all

19 aspects of their business (e.g., resistors supply, pricing authority, business strategy, customer

20 development and relations, sales and personnel decisions), the U.S.-based Subsidiary Defedants

21 (as described more fully below) operated as little more than sales offices in the United States for

22 their respective Japan-based Defendant parents.         Indeed, many of the Japan-based Parent

23 Defendants named their own employees directors, officers or managers of their U.S. subsidiaries,

24
   6
           Defendants Hokuriku Electric Industry Co., Kamaya Electric Co., KOA Corporation,
25 Panasonic Corporation, and ROHM Co. Ltd. are referred to collectively as the “Parent
   Defendants.”
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   7
           Defendants HDK America, Inc., Kamaya Inc., KOA Speer Electronics, Inc., Panasonic
27 Corporation of North America, and ROHM Semiconductor U.S.A., LLC are referred to
   collectively as the “Subsidiary Defendants.”
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   03820-JD                                                                            49
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 1 and many of these employees held these positions without ever even leaving Japan. As a result,

 2 these Subsidiary Defendants were—as intended—able to advance the cartel’s aims in the United

 3 States.

 4                  1.     Defendants’ High-Level Employees Organized the Conspiracies and
                           Their Subordinate Employees—Including Those of Their U.S.
 5                         Subsidiaries—Executed the Conspiracies.
 6           186.   The conspiracy was organized at a high level within the defendant corporate

 7 families. The conspiracy was carried out by both executives and subordinate employees. Further,

 8 given the nature of the industry, the conspiratorial agreements were implemented by the

 9 subsidiaries and distributors within the respective corporate families.

10           187.   Each of the corporate families alleged herein operate not as separate corporate

11 entities but as a single global enterprise. As the following allegations demonstrate, each

12 corporate family holds itself out to the public as a single, integrated enterprise. Each of the

13 Parent Defendants named in this case operates a hierarchical corporate structure wherein they

14 treat subsidiaries not as separate corporate entities under their own control but as mere divisions

15 of the corporate parent.

16           188.   Each Parent Defendant alleged herein also coordinates and manages the finances

17 and meetings between managers from each of its different subsidiaries, including the Subdidiary

18 Defendants, to facilitate an integrated enterprise to link the various supply chains within the

19 corporate family and to the corporate families’ clients. The Parent Defendants dominate and

20 control the finances, policies, and business practices of their various subsidiaries, including the

21 Subsidiary Defendants.

22           189.   In light of the fact that the Subsidiary Defendants were treated as mere sales

23 offices of the Parent Defendants, they were not permitted to undercut the pricing agreements

24 reached at the competitor meetings occurring in Japan and elsewhere.

25           190.   By virtue of their integrated enterprises, and by virtue of the other allegations in

26 this Complaint, each Defendant individually entered into the conspiracies alleged herein on
27 behalf of, and reported these meetings and discussions to, their respective corporate family and

28
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 1 U.S. subsidiaries. In fact, Defendant parent companies often provided pricing instructions to

 2 their U.S. subsidiaries, which acted as their U.S. sales arms.

 3         191.    KOA: KOA’s directives came from the top of the company;

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13         192.    KOA Corp. considered, treated, and even referred to KOA Speer as a

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20         193.    Under KOA’s current pricing regime

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 6       194.   KOA Speer’s

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18       196.   Kamaya: Kamaya Japan

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     03820-JD                                                   52
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 1       197.   Kamaya Japan

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 7       198.   HDK: At HDK,

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14       199.   For example,

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20       200.   When negotiating with customers,

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24       201.   For some customers, HDK Japan

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     03820-JD                                                   53
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 1         202.    Panasonic: Panasonic Corp.

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12         203.    ROHM: ROHM USA

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23                 2.      Defendants’ Representatives who Attended Conspiratorial
                           Meetings and Engaged in Collusive Conduct Participated in
24                         Discussions on Behalf of Entire Corporate Families and Failed
                           to Distinguish Between Corporate Entities in the Same
25                         Corporate Family.
26         205.    In many instances of meetings and communications between and among

27 Defendants in furtherance of their conspiracies alleged in this Complaint, Plaintiffs allege which

28
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 1 corporate family was represented in a particular meeting or communications. This is because,

 2 as documents reviewed to this date demonstrate, the individual participants in the conspiratorial

 3 meetings and discussions did not distinguish between entities within a particular corporate

 4 family, referring to themselves or others, for example, merely as “HDK”, “Kamaya”, “KOA”,

 5 “Panasonic”, or “ROHM”. Indeed, the employees from Defendants appear to have attended the

 6 conspiratorial meetings on behalf of their entire corporate families, including their respective

 7 U.S. subsidiaries. Further, because of their generic uses of Defendants’ names, individual

 8 participants in the conspiratorial meetings and discussions did not always know the specific

 9 corporate affiliation of their counterparts, nor did they distinguish between entities within the

10 respective corporate families. Participants in the conspiratorial meetings entered into agreements

11 on behalf of, and reported these meetings and discussions to their respective corporate families

12 and U.S. affiliates. As a result, the entire corporate family was represented in meetings and

13 discussions by their agents and were parties to the agreements reached in those meetings.

14         206.     For example,

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22         207.     Similarly, a memo reporting the information shared

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26                                                                                           At this

27 meeting, the attendees discussed resistors prices and their respective production capacities.

28
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 1         208.        In advance of the October 2, 2009

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 5         209.    Further, Defendants knew the individuals at the conspiratorial meetings

 6 represented their entire respective corporate family; otherwise, Defendants would not have

 7 entered into the illegal agreements if affiliate companies could simply undercut the agreements

 8 reached.

 9                3.         Each Defendant Parent Company, Along With Its U.S.
                             Subsidiary, Hold Themselves Out as a Single Integrated
10                           Enterprise.
11                              a.     HDK Corporate Family
12         210.    HDK Japan and HDK America lack corporate separation. HDK America for

13 example, lacks its own web domain (e.g., www.company.com/); HDK America’s homepage is

14 merely a webpage within HDK Japan’s website: accessing a link for HDK America on HDK

15 Japan’s website9 merely redirects to another page on HDK Japan’s website.10 Indeed, entering

16 “www.hdkamerica.com” into a web browser redirects to an English-language page on HDK

17 Japan’s website (https://www.hdk.co.jp/english/index_e.htm).      HDK Japan refers to HDK

18 America in different places as a “Sales Base”11 and a “Sales Office.”12 HDK America is but one

19 arm of HDK Japan’s global sales operation: HDK Japan operates a “Global Network” through

20 its multiple “Sales Offices” in Shanghai (Hokuriku (Shanghai) International Trading Co., Ltd.),

21 Taipei (Taipei Hokuriku Electric Industry Co., Ltd.), Guang Dong (HDK China Ltd.), Singapore

22 (Hokuriku (Singapore) Pte, Ltd., Thailand (Hokuriku International (Thailand) Co., Ltd.), and the

23 United States (HDK America).13

24   9
           https://www.hdk.co.jp/english/prfile_e/prf006_e.htm.
25   10
           https://www.hdk.co.jp/english/index_e.htm.
26   11
           https://www.hdk.co.jp/english/prfile_e/prf006_e.htm (Overseas bases)
     12
27         https://www.hdk.co.jp/english/prfile_e/prf008_e.htm (“Global Network” map)
     13
           https://www.hdk.co.jp/english/prfile_e/prf008_e.htm
28
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 1         211.

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 7                           b.      Kamaya Corporate Family
 8         212.   Kamaya Japan and Kamaya America lack corporate separation. According to

 9 both Kamaya Japan and Kamaya America’s website, Kamaya America “was established as a

10 sales office with warehouse in the U.S.A.”14 Kamaya America’s website identifies Kamaya

11 America as a “division” of Kamaya.15 Kamaya Japan’s website states that it “aim[s] to be a

12 global company that will progress into the world through the supply of resistors.” 16 And the

13 “Kamaya Electronics Catalog” identifies Kamaya Japan and Kamaya America as members of

14 the “Kamaya Global Network.” The Catalog identifies Kamaya Japan’s Kanagawa location as

15 the “Head Office,” and like the “Global Network” section of Kamaya Japan’s website, it

16 identifies Kamaya America’s locations as “Warehouses” and “Sales Offices.” 17 Indeed, the

17 product catalog on Kamaya America’s website is identical to that on Kamaya Japan’s website,

18 and bears Kamaya Japan’s name and logo and website url on its cover. Kamaya America’s

19 website indicates that Kamaya Japan claims copyright protections over its contents.

20         213.   Kamaya America’s Distribution Sales Network 18 completely overlaps with

21 Kamaya Japan’s “Global Network”;19 both identify America II Electronics; Area51 ESG, Inc.

22
     14
23           http://www.kamaya.com/ (Kamaya America);
     http://www.kamaya.co.jp/about.php#history (Kamaya)
24   15
           http://www.kamaya.com/
25   16
           http://www.kamaya.co.jp/vision.php
26   17
           http://www.kamaya.co.jp/contact.php?global#network
     18
27         http://www.kamaya.com/
     19
           http://www.kamaya.co.jp/contact.php?global#network
28
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 1 Chris Electronics; Concord Components, Inc.; Digi-Key Corporation; Integra Electronics, Inc.;

 2 Ital Sales; Miltronics Distribution; Mouser Electronics; NAC; Nexsun Electronics, Inc.; NRC

 3 Electronics; PCX, Inc. (Pacific Component Xchange, Inc.); PUI (Projections Unlimited, Inc.);

 4 RCD Industries; Tonar Industries, Inc.; UTECH Electronics; and YES-TECH.

 5         214.

 6

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 8                   .

 9                            c.     KOA Corporate Family
10         215.    KOA Corp. and KOA Speer lack corporate separation. KOA Corp.’s website for

11 example, lists KOA Speer as but one of the company’s many “Offices” around the world.20 KOA

12 Speer joins KOA entities in Germany, Singapore, Thailand, Malaysia, China, and Taiwan, as

13 part of KOA Corp.’s sprawling “Overseas Network,” which are controlled by KOA Corp.

14 headquarters in Japan. KOA Corp. identifies the establishment of KOA Speer as a milestone in

15 the company’s “Corporate History.”21 Through KOA Speer, KOA Corp. claims a 40% market

16 share in the United States. 22

17

18

19

20         216.    On a section of KOA Speer’s website titled, “Manufacturing Expertise,” KOA

21 Speer states: “KOA Corporation strives to be a world leader in the technology and operational

22 systems of manufacturing. . . . Our manufacturing programs meet the highest international

23 standards for finished component quality with defect levels measured in parts per billion.”23 It

24 makes no reference to KOA Speer’s manufacturing expertise.

25   20
           https://www.koaglobal.com/corporate/offices#usa
26   21
           https://www.koaglobal.com/corporate/history3?sc_lang=en
     22
27         https://www.koaglobal.com/ir/top-message
     23
           http://www.koaspeer.com/manufacturing-expertise/
28
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 1          217.    The “Global Presence”24 section of KOA Speer’s website provides the following:

 2                  To become an effective partner with a company utilizing widely
                    dispersed plants it is essential that a supplier address global
 3                  requirements. KOA Corporation is such a supplier.
 4                  Complementing our United States sales, tech support, warehousing
 5                  and distribution operation is a European sales office, our corporate
                    headquarters in Japan and twenty-four manufacturing facilities
 6                  located throughout the Pacific Rim. Our emphasis on a worldwide
                    presence works in concert with our customers and allows us to
 7                  implement responsive, localized technical support and inventory
                    management programs.
 8
                                d.     ROHM Corporate Family
 9

10          218.    ROHM Co. and ROHM USA lack corporate separation. ROHM USA is ROHM
11 Co.’s wholly-owned U.S. subsidiary. ROHM USA is identified on ROHM Co.’s web site as one

12 of its “Overseas Operations.” ROHM Co. and Rohm USA share a website; jobs at ROHM Co.

13 subsidiaries around the globe, including ROHM USA are listed on the same webpage.25 ROHM

14 Co. identifies establishing a “US subsidiary company in California” as part of its “Overseas

15 Expansion” on the Company History Portion of its webpage.26

16          219.    ROHM USA sells ROHM Co.’s resistors to customers in the United States.
17

18

19                                       . Accordingly, ROHM USA is dependent on ROHM Co. for
20 the resistors it markets, sells or delivers in the United States.

21          220.    ROHM Co. closely oversees sales of its resistors in the United States. Sales to
22 U.S.-based customers are important to ROHM’s overall business.

23

24

25   24
            http://www.koaspeer.com/global-presence/ (emphasis supplied).
26   25
            http://www.rohm.com/web/global/careers
27   26
            http://www.rohm.com/web/global/company-history
28
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 5          221.    ROHM USA sells, at ROHM Co.’s direction, resistors manufactured at factories

 6 operated by ROHM affiliates:

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12                             e.      Panasonic Corporate Family
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            222.    Panasonic Corp. and PNA likewise hold themselves out as an integrated
14
     corporation. “The Panasonic Group is compromised primarily of the parent Panasonic Corp.
15
     and [496] consolidated subsidiaries in and outside of Japan, operating in close cooperation with
16
     each other.”27 Panasonic Corp. has a streamlined governance structure that runs from the top
17
     down. “[T]he Board of Directors has the ultimate responsibility for administration of the
18
     Company’s affairs and monitoring of the execution of business by the Directors. . . . At the same
19
     time, the Company employs an Executive Officer system to provide for the execution of business
20
     at its various domestic and overseas Group companies. This system facilitates the development
21
     of optimum corporate strategies that integrate the Group’s comprehensive strengths.”28
22

23

24   27
             Panasonic Corp., Annual Securities Report for the fiscal year ended March 31, 2014,
25   at 6 (107th Business Term) (“Securities Report”) (emphasis added), available at
     http://www.panasonic.com/global/corporate/ir/pdf/AnnualSecuritiesReport2014.pdf;
26   Company Profile, http://www.panasonic.com/global/corporate/profile/overview.html, last
     visited September 21, 2017 (noting 496 “consolidated companies”).
27   28
             2014 Annual Report at 37, available at,
28   http://www.panasonic.com/global/corporate/ir/pdf/panasonic_ar2014_e.pdf.;
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 1            223.     Panasonic Corp.’s Executive Officers include the heads of regional subsidiaries,

 2 including Thomas Gebhart, Chairman and CEO of PNA. 29 PNA’s CEO is identified by

 3 Panasonic Corp. as Panasonic Corp.’s “Regional Head for North America.” 30 In its Annual

 4 Reports, Panasonic Corp. presents a consolidated financial statement for “Panasonic Corp. and

 5 Subsidiaries.”31 Panasonic also presents employee data in its Annual Report on a consolidated

 6 basis.32

 7            224.     Panasonic Corp. and its subsidiaries act as a single entity. Panasonic Corp. issues

 8 releases, for example, of all changes to the membership of the Board of Directors and Executive

 9 officers, across all divisions and subsidiaries, including PNA.33 In its annual report, Panasonic

10 Corp. lists key dates in its history, including the founding of Matsushita Electric Corp. of

11 America, which went on to become PNA.34 Panasonic Corp. controls 100 percent of “voting

12 rights interests” in PNA.35 PNA maintains a webpage (shop.panasonic.com/home) that is nested

13 within the Panasonic Corp. domain name. The “Investor Relations” tab on the PNA website

14 links        back        to      Panasonic       Corp.’s      investor      relations     page       at

15 http://www.panasonic.com/global/corporate/ir.html.

16            225.

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22   29
             Panasonic Corp., 2017 Annual Report at 74, available at,
23   http://www.panasonic.com/global/corporate/ir/pdf/panasonic_ar2017_e.pdf
     30
             Id.
24   31
             2014 Annual Report at 3–4.
     32
25           Securities Report at 11.
     33
             See Press Release, Panasonic Corp., Panasonic Announces Proposed Senior
26   Management        Changes,       Panasonic  (February     26,    2014),   available at
     http://www.panasonic.com/content/panasonic/global/en/corporate/ir/pdf/en140226.pdf.
27   34
             Securities Report at 3.
     35
             Id. at 9.
28
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                      4.      The Nature of the Resistor Industry Required Foreign Companies
 1                            Named As Defendants Herein to Use Their U.S. Subsidiaries As Sales
                              Arms for Price-Fixed Resistors.
 2
             226.     The Subsidiary Defendants are wholly-owned and/or controlled by their parent
 3
     companies. As part of each Parent Defendant’s global enterprise, the U.S.-based Subsidiary
 4
     Defendants assist the Parent Defendants with the sale and/or delivery of resistors to U.S.
 5
     purchasers. The Subsidiary Defendants carry out the sales of resistors to customers in the United
 6
     States after obtaining products manufactured at their parent company’s factories located in Japan
 7
     and/or other locations in Asia. Generally, the Subsidiary Defendants facilitate direct purchaser
 8
     orders for resistors with their parent companies overseas.         That is, the parent company
 9
     manufactures and packs resistors in Japan (or another subsidiary or affiliate of the parent
10
     company manufactures and packs resistors in Japan or a different country) and sends the
11
     purchased resistors directly to the United States, often through its U.S. subsidiaries. Indeed,
12
     Defendant parent companies make hundreds of millions of dollars of sales annually to their U.S.
13
     subsidiaries as part of their global business.
14
             227.     As the allegations above demonstrate, the Subsidiary Defendants acted as no
15
     more than sales arms of their respective parent companies. The Subsidiary Defendants had no
16
     true discretion as to the prices at which they sold resistors or the profit they would make from
17
     their sales; these Subsidiary Defendants lacked any independence from their corporate parents
18
     in Japan. In short, Defendants operate their resistor business as a single global enterprise in
19
     which they sell resistors in the United States through subsidiaries located here.
20
     IX.     ANTITRUST INJURY
21
             228.     Defendants’ price-fixing conspiracy had the following effects, among others:
22
                      (a)     Price competition has been restrained or eliminated with respect to
23
     resistors;
24
                      (b)     The prices of resistors have been fixed, raised, maintained, or stabilized
25
     at artificially inflated levels;
26
                      (c)     Indirect purchasers of resistors have been deprived of free and open
27
     competition; and
28
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 1                    (d)    Indirect purchasers of resistors, including Plaintiffs, paid artificially

 2 inflated prices.

 3         229.       During the respective Class Periods, Plaintiffs and the Classes paid supra-

 4 competitive prices for resistors.

 5         230.       By reason of the alleged violations of the antitrust laws, Plaintiffs and the Classes

 6 have sustained injury to their businesses or property, having paid higher prices for resistors than

 7 they would have paid in the absence of Defendants’ illegal contract, combination, or conspiracy,

 8 and as a result have suffered damages. This is an antitrust injury of the type that the antitrust

 9 laws were meant to punish and prevent.

10 X.      AFFECTED TRADE AND COMMERCE

11         231.       During the Class Period, Defendants collectively controlled the vast majority of

12 the market for resistors, both globally and in the United States.

13         232.       Defendants, directly and indirectly, sold resistors to manufacturers and

14 consumers located in numerous states in the United States other than states in which Defendants

15 are located. Substantial quantities of resistors containing resistors are shipped from outside the

16 United States into the United States, and are shipped interstate in a continuous and uninterrupted

17 flow of interstate and foreign trade and commerce.

18         233.       In addition, substantial quantities of equipment and supplies necessary to the

19 production and distribution of resistors, as well as payments for resistors and related products

20 sold by Defendants, traveled in interstate and foreign trade and commerce. The business

21 activities of Defendants in connection with the production and sale of resistors that were the

22 subject of the charged conspiracy were within the flow of, and substantially affected, interstate

23 and foreign trade and commerce.

24         A.         Defendants’ Conduct Involved Import Trade or Import Commerce and
                      Had a Direct, Substantial and Reasonably Foreseeable Effect on U.S.
25

26
27

28
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                      Domestic and Import Trade or Commerce that Gave Rise to Plaintiffs’
 1                    Antitrust Claims
 2
             234.     Defendants’ illegal conduct involved U.S. import trade or import commerce.
 3
     Defendants knowingly and intentionally sent price-fixed resistors into a stream of commerce that
 4
     they knew led directly into the United States, one of their most important markets and a major
 5
     source of their revenues. In this respect, they directed their anticompetitive conduct at imports
 6
     into the United States with the intent of causing price-fixed resistors to enter the United States
 7
     market and inflating the prices of resistors destined for the United States. Such conduct was
 8
     meant to produce and did in fact produce a substantial effect in the United States in the form of
 9
     higher prices.
10
             235.     The United States resistors market is enormous. Defendants and others shipped
11
     millions of resistors, including those incorporated into finished products, into the United States
12
     during the respective Class Periods for ultimate resale to U.S. consumers. As a result, a
13
     substantial portion of Defendants’ revenues were derived from the U.S. market. Defendants
14
     spent hundreds of millions of dollars on advertising their products in the United States.
15
             236.     Because of the importance of the U.S. market to Defendants and their co-
16
     conspirators, resistors intended for importation into and ultimate consumption in the United
17
     States were a focus of Defendants’ illegal conduct. Defendants knowingly and intentionally sent
18
     price-fixed resistors into a stream of commerce that led directly into the United States. This
19
     conduct by Defendants was meant to produce and did in fact produce a substantial effect in the
20
     United States in the form of artificially-inflated prices for resistors.
21
             237.     During the Class Period, every Defendant shipped resistors directly into the
22
     United States.
23
             238.     When high-level executives within Defendants’ companies agreed on prices, they
24
     knew that their price-fixed resistors would be sold in the United States.
25
             239.     For the reasons set forth above, Defendants’ illegal conduct involved import trade
26
     or import commerce into the United States.
27

28
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 1         240.     Defendants’ illegal conduct had a direct, substantial, and reasonably foreseeable

 2 effect on U.S. domestic and import trade or commerce in the form of higher prices for resistors

 3 and electronic products containing resistors that Plaintiffs and Members of the Classes paid.

 4 These prices, tainted by collusion, directly and immediately impacted Plaintiffs and Members of

 5 the Classes in the United States. In this respect, the U.S. effects of Defendants’ illegal conduct

 6 gave rise to Plaintiffs’ and Members of the Classes’ antitrust claims and were the proximate

 7 cause of the injury that Plaintiffs and Members of the Classes suffered. Defendants often

 8 discussed conditions in the United States market while they coordinated their prices.

 9         241.     A number of facts demonstrate that Defendants’ price-fixing conspiracy had a

10 direct, substantial and reasonably foreseeable effect on domestic commerce.

11         B.       The Defendants Targeted the United States
12         242.     Because of the small size of resistors, transportation costs are relatively minor

13 and there is substantial international trade in these electronic components.

14         243.     During the Class Period, Defendants manufactured and sold substantial quantities

15 of resistors shipped from outside the United States and from other states in a continuous and

16 uninterrupted flow of interstate and foreign trade and commerce. In addition, substantial

17 quantities of equipment and supplies necessary to the production and distribution of resistors, as

18 well as payments for resistors and related products sold by Defendants, traveled in interstate and

19 foreign trade and commerce. The business activities of Defendants in connection with the

20 production and sale of resistors that were the subject of the charged conspiracy were within the

21 flow of, and affected substantially, interstate and foreign trade and commerce.

22         244.     Defendants engaged in conduct both inside and outside the United States that

23 caused direct, substantial, and reasonably foreseeable and intended anticompetitive effects upon

24 interstate commerce within the United States.

25         245.     Defendants, directly and through their agents, engaged in a conspiracy to fix or

26 inflate prices of resistors that restrained trade unreasonably and affected adversely the market
27 for resistors.    Defendants affected commerce, including import commerce, substantially

28
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 1 throughout the United States, proximately causing injury to Plaintiffs and members of the

 2 Classes.

 3 XI.     CLASS ACTION ALLEGATIONS

 4         246.    Plaintiffs bring this action on behalf of themselves and as a class action pursuant

 5 to Federal Rules of Civil Procedure (“Rules”) 23(a) and (b)(2), seeking equitable and

 6 injunctive relief on the following classes (“Injunctive Relief Class”):

 7                 All persons and entities in the United States who purchased one or
                   more linear resistor(s) from a resistor distributor not for resale which
 8
                   a Defendant, its current or former subsidiary, or any of its co-
 9                 conspirators from a date presently unknown to Plaintiffs and going
                   through such time as the anticompetitive effects of Defendants’
10                 conduct ceased (“Class Period”).
11         247.    Plaintiffs will also seek certification of State Damages Classes (defined below)

12 pursuant to Rules 23(a) and (b)(3), asserting claims for damages under (1) the antitrust and

13 restraint of trade laws of California, Iowa, Michigan, Minnesota, Nebraska, and New York;36

14 and (2) the unfair competition and consumer protection laws of California, Florida, Nebraska,

15 and New York.37

16         248.    Pursant to Rule 23, Plaintiffs bring claims for damages on behalf of all persons

17 similarly situated that are members of the following classes:

18                 (a) California: All persons and entities that indirectly purchased one or more

19 resistors from a distributor that a defendant or co-conspirator manufactured during the Class

20 Period (“California Damages Class”).

21                 (b) Florida: All persons and entities that indirectly purchased one or more

22 resistors from a distributor that a defendant or co-conspirator manufactured during the Class

23 Period (“Florida Damages Class”).

24   36
            California Business and Professions Code, §§ 16700, et seq., Iowa Code §§ 553.1, et
25 seq., Michigan   Compiled Laws §§ 445.772, et seq., Minnesota Statutes §§ 325D.49, et seq.,
   Nebraska Revised Statutes §§ 59-801, et seq., and New York General Business Laws §§ 340,
26 et seq..
     37
27         California Unfair Competition Law, Cal. Bus. & Prof. Code §§ 17200, et seq., Florida
   Deceptive and Unfair Trade Practices Act, Fla. Stat. §§ 501.201, et seq., Nebraska Consumer
28 Protection Act, Neb. Rev. Stat. §§ 59-1601, et seq., and N.Y. Gen. Bus. Law § 349, et seq.
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 1                 (c) Iowa: All persons and entities that indirectly purchased one or more resistors

 2 from a distributor that a defendant or co-conspirator manufactured during the Class Period

 3 (“Iowa Damages Class”).

 4                 (d) Michigan: All persons and entities that indirectly purchased one or more

 5 resistors from a distributor that a defendant or co-conspirator manufactured during the respective

 6 Class Periods (“Michigan Damages Class”).

 7                 (e) Minnesota: All persons and entities that indirectly purchased one or more

 8 resistors from a distributor that a defendant or co-conspirator manufactured during the Class

 9 Period (“Minnesota Damages Class”).

10                 (f) Nebraska: All persons and entities that indirectly purchased one or more

11 resistors from a distributor that a defendant or co-conspirator manufactured during the respective

12 Class Periods (“Nebraska Damages Class”).

13                 (g) New York: All persons and entities that indirectly purchased one or more

14 resistors from a distributor that a defendant or co-conspirator manufactured during the Class

15 Period (“New York Damages Class”).

16         State Damages Classes: The California Damages Class, the Florida Damages Class, the

17 Iowa Damages Class, the Michigan Damages Class, the Minnesota Damages Class, the Nebraska

18 Damages Class, and the New York Damages Class, collectively, are the “State Damages

19 Classes”.

20         249.    The Injunctive Relief Class and the State Damages Classes are collectively

21 referred as the “Classes” unless otherwise indicated. Excluded from the Classes are Defendants,

22 their parent companies, subsidiaries and affiliates, any co-conspirators, Defendants’ attorneys in

23 this case, federal government entities and instrumentalities, states and their subdivisions, all

24 judges assigned to this case, all jurors in this case, and all persons and entities who directly

25 purchased linear resistors from Defendants.

26         250.    While Plaintiffs do not know the exact number of the members of the Classes,

27 Plaintiffs believe there are thousands of members in each of the Classes.

28
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 1           251.   Common questions of law and fact exist as to all members of the Classes. This is

 2 particularly true given the nature of Defendants’ conspiracy, which was applicable to all of the

 3 members of the Classes, thereby making appropriate relief with respect to the Classes as a whole.

 4 Such questions of law and fact common to the Classes include, but are not limited to:

 5              a. Whether Defendants engaged in a combination and conspiracies among

 6 themselves to fix, raise, maintain, and/or stabilize the prices of linear resistors sold in the United

 7 States;

 8              b. The identity of the participants of the alleged conspiracies;

 9              c. The duration of the alleged conspiracies and the acts carried out by Defendants

10 in furtherance of the conspiracies;

11              d. Whether the alleged conspiracies violated the Sherman Act;

12              e. Whether the alleged conspiracies violated the antitrust and restraint of trade laws

13 of California;

14              f. Whether the alleged conspiracies violated the unfair competition and consumer

15 protection laws of California;

16              g. Whether the conduct of Defendants, as alleged in this Complaint, caused injury

17 to the business or property of Plaintiffs and members of the Classes;

18              h. The effect of the alleged conspiracy on the prices of linear resistors sold in the

19 United States during the respective Class Period;

20              i. The appropriate injunctive and related equitable relief for the Injunctive Classes;

21 and

22              j. The appropriate class-wide measure of damages for the State Damages Classes.

23           252.   Plaintiffs’ claims are typical of the claims of the members of the Classes, and

24 Plaintiffs will fairly and adequately protect the interests of the Classes. Plaintiffs and all members

25 of the Classes are similarly affected by Defendants’ wrongful conduct in that they paid

26 artificially inflated prices for linear resistors purchased indirectly from Defendants.
27

28
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 1         253.    Plaintiffs’ claims arise out of the same common course of conduct giving rise to

 2 the claims of the other members of the Classes. Plaintiffs’ interests are coincident with, and not

 3 antagonistic to, those of the other members of the Classes. Plaintiffs are represented by counsel

 4 who are competent and experienced in the prosecution of antitrust, unfair competition, and class

 5 action litigation.

 6         254.    The questions of law and fact common to the members of the Classes predominate

 7 over any questions affecting only individual members, including legal and factual issues relating

 8 to liability and damages.

 9         255.    Class action treatment is a superior method for the fair and efficient adjudication

10 of the controversy, in that, among other things, such treatment will permit a large number of

11 similarly situated persons to prosecute their common claims in a single forum simultaneously,

12 efficiently and without the unnecessary duplication of evidence, effort and expense that

13 numerous individual actions would engender. The benefits of proceeding through the class

14 mechanism, including providing injured persons or entities with a method for obtaining redress

15 for claims that it might not be practicable to pursue individually, substantially outweigh any

16 difficulties that may arise in management of this class action.

17         256.    The prosecution of separate actions by individual members of the Classes would

18 create a risk of inconsistent or varying adjudications, establishing incompatible standards of

19 conduct for Defendants.

20

21         257.    Plaintiffs bring the Damages Classes on behalf of all persons similarly situated

22 pursuant to Rule 23, on behalf of all persons and entities that, as residents of various states,

23 indirectly purchased one or more linear resistors that a Defendant or co-conspirator

24 manufactured during the respective Class Periods.

25 XII.    GUILTY PLEAS IN PRIOR CASES

26         258.    Significantly Panasonic, one of the world’s leading manufacturers of resistors,

27 has pled guilty in numerous price-fixing cases, including electronic products.

28
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 1          259.   On September 30, 2010, Panasonic agreed to plead guilty and to pay a large

 2 criminal fine for its participation in a conspiracy to price-fix refrigerant compressors from

 3 October 14, 2004 through December 31, 2007.

 4          260.   On July 18, 2013, Panasonic agreed to plead guilty and to pay a $45.8 million

 5 criminal fine for its participation in a conspiracy to price-fix switches, steering angle sensors and

 6 automotive high intensity discharge ballasts installed in automobiles sold in the United States

 7 and elsewhere from at least as early as September 2003 until at least February 2010.

 8          261.   That same day, Panasonic’s subsidiary, SANYO Electric Co., Ltd., agreed to

 9 plead guilty and to pay a large criminal fine for its participation in a conspiracy to fix the prices

10 of cylindrical lithium-ion battery cells sold worldwide for use in notebook computer battery

11 packs from about April 2007 until about September 2008. The production and sale of both

12 lithium ion batteries and resistors were often overseen by the same departments and personnel

13 that were involved in fixing lithium ion battery prices.

14          262.   In 2008, Panasonic created “Rules Concerning Activity and Relationship with

15 Competitors” that were supposed to ensure antitrust compliance; a Compliance Committee that

16 meets annually was set up to monitor these efforts. The rules did not solve the problem. In its

17 2012 corporate “Sustainability Report,” Panasonic stated:

18                  In fiscal 2012, the company reviewed the efforts related to the
                    company’s compliance activities in the corporate “Compliance
19
                    Committee” and discussed additional personnel measures. The top
20                  management strongly restated that it is the company’s policy not to
                    engage in cartel activities and requests employees mainly in sales and
21                  marketing departments to confirm whether they encounter suspicious
                    activities or not.
22
     https://www.panasonic.com/global/corporate/sustainability/pdf/sr2012e.pdf. The same report
23
     noted that Panasonic had created a Global & Group Risk Management Committee chaired by
24
     the President of the company and including directors and executive officers in charge of
25
     corporate operational fuctions at the company’s headquarters. That group identified the
26
     “corporate major risks” for the then just-ended fiscal year 2012 and the then upcoming fiscal
27
     year 2013. On both lists was “Cartels.” Subsequent corporate sustainability reports for 2013,
28
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 1 2014 and 2015 identified this same “corporate major risk’ for the 2013, 2014 and 2015 fiscal

 2 years, as well as the 2016 fiscal year.38

 3           263.     The foregoing pattern of anticompetitive practices in various technology-related

 4 markets is illustrative of Defendants’ corporate conduct, which has included illegal activity

 5 aimed at generating profits at the expense of their customers.

 6 XIII. VIOLATIONS ALLEGED

 7                                   FIRST CLAIM FOR RELIEF
                               (Violations of Sherman Act, 15 U.S.C. § 1)
 8                         (On Behalf of All Plaintiffs Against All Defendants)
 9
             264.     Plaintiffs incorporate and reallege, as though fully set forth herein, each of the
10
     paragraphs set forth above.
11
             265.     Defendants and unnamed coconspirators entered into and engaged in a contract,
12
     combination, or conspiracy in unreasonable restraint of trade in violation of Section One of the
13
     Sherman Act (15 U.S.C. § 1).
14
             266.     Beginning at a date presently unknown to Plaintiffs and continuing through the
15
     present, the exact starting date being unknown to Plaintiffs and exclusively within the knowledge
16
     of Defendants, Defendants and their co-conspirators entered into a continuing contract,
17
     combination, or conspiracy to unreasonably restrain trade and commerce in violation of Section
18
     1 of the Sherman Act (15 U.S.C. § 1) by artificially reducing or eliminating competition in the
19
     United States.
20
             267.     In particular, Defendants have combined and conspired to raise, fix, maintain, or
21
     stabilize the prices of linear resistors
22
             268.     As a result of Defendants’ unlawful conduct, prices for linear resistors were raised,
23
     fixed, maintained, and stabilized in the United States.
24

25
     38
26         See https://www.panasonic.com/global/corporate/sustainability/pdf/sr2013e.pdf;
   http://www.panasonic.com/global/corporate/sustainability/downloads/back_number/pdf/2014/s
27 r2014e.pdf;
   http://www.panasonic.com/global/corporate/sustainability/downloads/back_number/pdf/2015/s
28 db2015e.pdf.
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 1         269.      The contract, combination or conspiracy among Defendants consisted of a

 2 continuing agreement, understanding, and concerted action among Defendants and their co-

 3 conspirators.

 4         270.      For purposes of formulating and effectuating their contract, combination, or

 5 conspiracy, Defendants and their co-conspirators did those things they contracted, combined, or

 6 conspired to do, including:

 7              a. Participating in meetings and conversations to discuss the prices and supply of

 8 linear resistors.

 9              b. Communicating in writing and orally to fix prices of linear resistors.

10              c. Agreeing to manipulate prices and supply of linear resistors sold in the United

11 States in a manner that deprived purchasers of free and open competition.

12              d. Issuing price announcements and price quotations in accordance with the

13 agreements reached.

14              e. Selling linear resistors to customers in the United States at non-competitive prices.

15              f. Providing false statements to the public to explain increased prices for linear

16 resistors.

17         271.      As a result of Defendants’ unlawful conduct, Plaintiffs and the other members of

18 the Classes have been injured in their businesses and property in that they have paid more for

19 resistors than they otherwise would have paid in the absence of Defendants’ unlawful conduct.

20         272.      The alleged contract, combination or conspiracy is a per se violation of the federal

21 antitrust laws.

22         273.      These violations are continuing and will continue unless enjoined by this Court.

23         274.      Pursuant to Section 16 of the Clayton Act, 15 U.S.C. § 26, Plaintiffs and the

24 Classes seek the issuance of an injunction against Defendants, preventing and restraining the

25 violations alleged herein.

26                                  SECOND CLAIM FOR RELIEF
                       (Violations of State Antitrust and Restraint of Trade Laws)
27                           (On Behalf of Plaintiffs Against All Defendants)
28
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 1           275.   Plaintiffs incorporate by reference all the above allegations as if fully set forth

 2 herein.

 3           276.   Plaintiffs allege violations of the following states’ antitrust and restraint of trade

 4 laws: California, Iowa, Michigan, Minnesota, Nebraska, and New York.39

 5           277.   Beginning at a time currently unknown to Plaintiffs, but at least as early as 2003

 6 and continuing thereafter through the present, Defendants and their co-conspirators entered into

 7 and engaged in a continuing unlawful trust in restraint of the trade and commerce described

 8 above in violation of various state antitrust and restraint of trade laws. Defendants, and each of

 9 them, have acted in violation of such laws to fix, raise, stabilize, and maintain prices of, and

10 allocate markets for resistors at supra-competitive levels.

11           278.   In particular, defendants have combined and conspired to raise, fix, maintain or

12 stabilize the prices of resistors sold in the United States.

13           279.   As a result of defendants’ unlawful conduct, prices for resistors were raised, fixed,

14 maintained, and stabilized in the United States.

15           280.   The contract, combination or conspiracy among defendants consisted of a

16 continuing agreement, understanding, and concerted action among defendants and their co-

17 conspirators.

18           281.   For purposes of formulating and effectuating their contract, combination, or

19 conspiracy, defendants and their co-conspirators did those things they contracted, combined, or

20 conspired to do, including:

21              (a) Participating in meetings and conversations to discuss the prices and supply of

22 resistors;

23              (b) Communicating in writing and orally to fix prices of resistors;

24              (c) Agreeing to manipulate prices and supply of resistors sold in the United States in

25 a manner that deprived direct and indirect purchasers of free and open competition;

26
     39
           See Cal. Business and Professions Code, §§ 16700, et seq., Iowa Code §§ 553.1, et seq.,
27 Mich. Compiled Laws §§ 445.772, et seq., Minn. Statutes §§ 325D.49, et seq., Neb. Revised
   Statutes §§ 59-801, et seq., and N.Y. General Business Laws §§ 340, et seq.
28
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 1                (d) Issuing price announcements and price quotations in accordance with the

 2 agreements reached;

 3                (e) Selling resistors to customers in the United States at non-competitive prices; and

 4                (f) Providing false statements to the public to explain increased prices for resistors.

 5         282.      As a direct and proximate result of defendants’ unlawful conduct, Plaintiffs and

 6 members of the Classes have been injured in their business and property in that they paid more

 7 for resistors than they otherwise would have paid in the absence of defendants’ unlawful

 8 conduct. As a result of defendants’ violation of state antitrust and restraint of trade laws,

 9 Plaintiffs and members of the Classes seek treble damages and their cost of suit, including a

10 reasonable attorneys’ fees, pursuant to said laws.

11          283.     Plaintiffs allege the following violations of state antitrust and restraint of trade

12 laws:

13          284.     California: By reason of the foregoing, defendants have violated California

14 Business and Professions Code, §§ 16700, et seq. California Plaintiffs on behalf of the

15 California Damages Classes allege as follows:

16                   a.      Defendants’ contract, combination, trust or conspiracy was entered in,

17 carried out, effectuated and perfected mainly within the State of California, and Defendants’

18 conduct within California injured all members of the class throughout the United States.

19 Therefore, this claim for relief under California law is brought on behalf of the California

20 Damages Class.

21                   b.      Beginning at a time currently unknown to California Plaintiffs, but at

22 least as early as 2003, and continuing thereafter at least up to present, Defendants and their co-

23 conspirators entered into and engaged in a continuing unlawful trust in restraint of the trade

24 and commerce described above in violation of section 16720, California Business and

25 Professions Code. Defendants, and each of them, have acted in violation of section 16720 to

26 fix, raise, stabilize, and maintain prices of resistors at supra-competitive levels.
27

28
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 1                  c.      The aforesaid violations of section 16720, California Business and

 2 Professions Code, consisted, without limitation, of a continuing unlawful trust and concert of

 3 action among the defendants and their co-conspirators, the substantial terms of which were to

 4 fix, raise, maintain, and stabilize the prices of resistors.

 5                  d.      For the purpose of forming and effectuating the unlawful trust, the

 6 Defendants and their co-conspirators have done those things which they combined and

 7 conspired to do, including but not in any way limited to the acts, practices and course of

 8 conduct set forth above and fixing, raising, stabilizing, and pegging the price of resistors.

 9                  e.      The combination and conspiracy alleged herein has had, inter alia, the

10 following effects: (1) price competition in the sale of resistors has been restrained, suppressed,

11 and/or eliminated in the State of California; (2) prices for resistors have been fixed, raised,

12 stabilized, and pegged at artificially high, noncompetitive levels in the State of California; and

13 (3) those who purchased resistors directly or indirectly from Defendants and their co-

14 conspirators have been deprived of the benefit of free and open competition.

15                  f.      As a direct and proximate result of Defendants’ unlawful conduct,

16 California Plaintiffs and the members of the California Damages Classes have been injured in

17 their business and property in that they paid more for resistors than they otherwise would have

18 paid in the absence of Defendants’ unlawful conduct. As a result of Defendants’ violation of

19 Section 16720 of the California Business and Professions Code, California Plaintiffs and the

20 California Damages Classes seek treble damages and their cost of suit, including a reasonable

21 attorney’s fee, pursuant to section 16750(a) of the California Business and Professions Code.

22
            285.    Iowa: By reason of the foregoing, defendants have violated Iowa Code §§
23
     553.1, et seq. Iowa Plaintiff on behalf of the Iowa Damages Classes alleges as follows:
24
                    a.      Defendants’ combinations or conspiracies had the following effects: (1)
25
     resistors was restrained, suppressed, and eliminated throughout Iowa; (2) resistors prices were
26
     raised, fixed, maintained and stabilized at artificially high levels throughout Iowa; (3) Iowa
27
     Plaintiff and members of the Damages Classes were deprived of free and open competition;
28
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 1 and (4) Iowa Plaintiff and members of the Damages Classes paid supra-competitive, artificially

 2 inflated prices for resistors.

 3                  b.     During the Class Periods, defendants’ illegal conduct substantially

 4 affected Iowa commerce.

 5                  c.     As a direct and proximate result of Defendants’ unlawful conduct, Iowa

 6 Plaintiff and members of the Damages Classes have been injured in their business and property

 7 and are threatened with further injury.

 8                  d.     By reason of the foregoing, defendants have entered into agreements in

 9 restraint of trade in violation of Iowa Code §§ 553.1, et seq. Accordingly, Iowa Plaintiff and

10 members of the Damages Classes seek all forms of relief available under Iowa Code §§ 553.1,

11 et seq.

12           286.   Michigan: By reason of the foregoing, defendants have violated Michigan

13 Compiled Laws §§ 445.772, et seq. Michigan Plaintiff on behalf of the Michigan Damages

14 Classes alleges as follows:

15                  a.     Defendants’ combination or conspiracy had the following effects: (1)

16 price competition for resistors was restrained, suppressed, and eliminated throughout

17 Michigan; (2) prices for resistors were raised, fixed, maintained and stabilized at artificially

18 high levels throughout Michigan; (3) Michigan Plaintiff and the Michigan Damages Classes

19 were deprived of free and open competition; and (4) Michigan Plaintiff and the Michigan

20 Damages Classes paid supra-competitive, artificially inflated prices for resistors

21                  b.     During the Class Periods, defendants’ illegal conduct substantially

22 affected Michigan commerce.

23                  c.     As a direct and proximate result of Defendants’ unlawful conduct,

24 Michigan Plaintiff and the Michigan Damages Classes have been injured in their business and

25 property and are threatened with further injury.

26                  d.     By reason of the foregoing, defendants have entered into agreements in

27 restraint of trade in violation of Michigan Compiled Laws §§ 445.772, et seq. Accordingly,

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 1 Michigan Plaintiff and the Michigan Damages Classes seek all relief available under Michigan

 2 Compiled Laws §§ 445.72, et seq.

 3          287.   Minnesota: By reason of the foregoing, defendants have violated Minnesota

 4 Statutes §§ 325D.49, et seq. Minnesota Plaintiff on behalf of the Minnesota Damages Classes

 5 alleges as follows:

 6                 a.      Defendants’ combination or conspiracy had the following effects: (1)

 7 price competition for resistors was restrained, suppressed, and eliminated throughout

 8 Minnesota; (2) prices for resistors were raised, fixed, maintained and stabilized at artificially

 9 high levels throughout Minnesota; (3) Minnesota Plaintiff and the Minnesota Damages Classes

10 were deprived of free and open competition; and (4) Minnesota Plaintiff and the Minnesota

11 Damages Classes paid supra-competitive, artificially inflated prices for resistors.

12                 b.      During the Class Periods, defendants’ illegal conduct substantially

13 affected Minnesota commerce.

14                 c.      As a direct and proximate result of Defendants’ unlawful conduct,

15 Minnesota Plaintiff and the Minnesota Damages Classes have been injured in their business

16 and property and are threatened with further injury.

17                 d.      By reason of the foregoing, defendants have entered into agreements in

18 restraint of trade in violation of Minnesota Statutes §§ 325D.49, et seq. Accordingly,

19 Minnesota Plaintiff and the Minnesota Damages Classes seek all relief available under

20 Minnesota Statutes §§ 325D.49, et seq.

21          288.   Nebraska: By reason of the foregoing, defendants have violated Nebraska

22 Revised Statutes §§ 59-801, et seq. Nebraska Plaintiff on behalf of the Nebraska Damages

23 Classes alleges as follows:

24                 a.      Defendants’ combination or conspiracy had the following effects: (1)

25 price competition for resistors was restrained, suppressed, and eliminated throughout

26 Nebraska; (2) prices for resistors were raised, fixed, maintained and stabilized at artificially
27 high levels throughout Nebraska; (3) Nebraska Plaintiff and the Nebraska Damages Classes

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 1 were deprived of free and open competition; and (4) Nebraska Plaintiff and the Nebraska

 2 Damages Classes paid supra-competitive, artificially inflated prices for resistors.

 3                 b.      During the Class Periods, defendants’ illegal conduct substantially

 4 affected Nebraska commerce.

 5                 c.      As a direct and proximate result of Defendants’ unlawful conduct,

 6 Nebraska Plaintiff and the Nebraska Damages Classes have been injured in their business and

 7 property and are threatened with further injury.

 8                 d.      By reason of the foregoing, defendants have entered into agreements in

 9 restraint of trade in violation Nebraska Revised Statutes §§ 59-801, et seq. Accordingly,

10 Nebraska Plaintiff and the Nebraska Damages Classes seek all relief available under Nebraska

11 Revised Statutes §§ 59-801, et seq.

12          289.   New York: By reason of the foregoing, defendants have violated New York

13 General Business Laws §§ 340, et seq. New York Plaintiff on behalf of the New York

14 Damages Classes alleges as follows:

15                 a.      Defendants’ combination or conspiracy had the following effects: (1)

16 price competition for resistors was restrained, suppressed, and eliminated throughout New

17 York; (2) prices for resistors were raised, fixed, maintained and stabilized at artificially high

18 levels throughout New York; (3) New York Plaintiff and the New York Damages Classes were

19 deprived of free and open competition; and (4) New York Plaintiff and the New York Damages

20 Classes paid supra-competitive, artificially inflated prices for resistors.

21                 b.      During the Class Periods, defendants’ illegal conduct substantially

22 affected New York commerce.

23                 c.      As a direct and proximate result of Defendants’ unlawful conduct, New

24 York Plaintiff and the New York Damages Classes have been injured in their business and

25 property and are threatened with further injury.

26                 d.      By reason of the foregoing, defendants have entered into agreements in

27 restraint of trade in violation of New York General Business Laws §§ 340, et seq. Accordingly,

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 1 New York Plaintiff and the New York Damages Classes seek all relief available under New

 2 York General Business Laws §§ 340, et seq.

 3                                 THIRD CLAIM FOR RELIEF
             (Violations of State Consumer Protection and Unfair Competition Laws)
 4                      (On Behalf of All Plaintiffs Against All Defendants)
 5         290.    Plaintiffs incorporate by reference the allegations in the above paragraphs as if

 6 fully set forth herein.

 7         291.    Plaintiffs allege violations of the following states’ consumer protection and

 8 unfair competition laws: California, Florida, Nebraska, and New York.40

 9         292.    Defendants engaged in unfair competition or unfair, unconscionable, deceptive

10 or fraudulent acts or practices in violation of these states’ consumer protection and unfair

11 competition laws by engaging in a conspiracy to fix and stabilize the price of resistors as

12 described above.

13         293.     Defendants’ acts, omissions, misrepresentations, practices and non-disclosures

14 constitute a common and continuing course of conduct of unfair competition or unfair,

15 unconscionable, deceptive or fraudulent acts or practices within the meaning of these states’

16 consumer protection and unfair competition laws.

17         294.    Defendants’ acts, omissions, misrepresentations, practices and nondisclosures

18 are unfair, unconscionable, unlawful and/or fraudulent independently of whether they

19 constitute a violation of the Sherman Act or these states’ consumer protection and unfair

20 competition laws.

21         295.    Defendants’ acts or practices are fraudulent or deceptive within the meaning of

22 these states’ consumer protection and unfair competition laws.

23         296.    Defendants’ conduct was carried out, effectuated, and perfected within these

24 states. Defendants maintained offices in some of these states where their employees engaged in

25
     40
26         California Unfair Competition Law, Cal. Bus. & Prof. Code §§ 17200, et seq., Florida
   Deceptive and Unfair Trade Practices Act, Fla. Stat. §§ 501.201, et seq., Nebraska Consumer
27 Protection Act, Neb. Rev. Stat. §§ 59-1601, et seq., New York General Business Law, N.Y.
   Gen. Bus. Law § 349, et seq.
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 1 communications, meetings and other activities in furtherance of defendants’ conspiracy.

 2          297.    By reason of the foregoing, Plaintiffs and the Classes are entitled to full

 3 restitution and/or disgorgement of all revenues, earnings, profits, compensation, and benefits

 4 that may have been obtained by defendants as result of such business acts and practices

 5 described above.

 6          298.    Plaintiffs allege the following violations of state unfair competition and

 7 consumer protection laws:

 8          299.    California: By reason of the foregoing, defendants have violated California’s

 9 Unfair Competition Law, Cal. Bus. & Prof. Code §§ 17200, et seq. California Plaintiffs on

10 behalf of the California Damages Classes alleges as follows:

11                  a.     Defendants committed acts of unfair competition, as defined by section

12 17200, et seq., by engaging in a conspiracy to fix and stabilize the price of resistors as

13 described above.

14                  b.     The acts, omissions, misrepresentations, practices and non-disclosures of

15 Defendants, as described above, constitute a common and continuing course of conduct of

16 unfair competition by means of unfair, unlawful and/or fraudulent business acts or practices

17 with the meaning of section 17200, et seq., including, but not limited to (1) violation of Section

18 1 of the Sherman Act; (2) violation of the Cartwright Act.

19                  c.     Defendants’ acts, omissions, misrepresentations, practices and

20 nondisclosures are unfair, unconscionable, unlawful and/or fraudulent independently of

21 whether they constitute a violation of the Sherman Act or the Cartwright Act.

22 d. Defendants’ acts or practices are fraudulent or deceptive within the meaning of section

23 17200, et seq.

24                  e.     Defendants’ conduct was carried out, effectuated, and perfected within

25 the State of California. Defendants maintained offices in California where their employees

26 engaged in communications, meetings and other activities in furtherance of Defendants’
27 conspiracy.

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 1                     f.     By reason of the foregoing, California Plaintiffs and the California

 2 Damages Classes are entitled to full restitution and/or disgorgement of all revenues, earnings,

 3 profits, compensation, and benefits that may have been obtained by Defendants as result of

 4 such business acts and practices described above.

 5           300.      Florida: By reason of the foregoing, defendants have violated the Florida
 6
     Deceptive and Unfair Trade Practices Act, Fla. Stat. §§ 501.201, et seq. Florida Plaintiff on
 7
     behalf of the Florida Damages Classes alleges as follows:
 8
                       a.     Defendants’ unlawful conduct had the following effects: (1) price
 9

10 competition for resistors was restrained, suppressed, and eliminated throughout Florida; (2)

11 prices for resistors were raised, fixed, maintained, and stabilized at artificially high levels

12 throughout Florida; (3) Florida Plaintiff and the Florida Damages Classes were deprived of free

13
     and open competition; and (4) Florida Plaintiff and the Florida Damages Classes paid supra-
14
     competitive, artificially inflated prices for resistors.
15
                       b.     During the Class Periods, defendants’ illegal conduct substantially
16

17 affected Florida commerce and purchasers.

18                     c.     As a direct and proximate result of Defendants’ unlawful conduct,

19 Florida Plaintiff and the Florida Damages Classes have been injured and are threatened with

20
     further injury.
21
                       d.     Defendants have engaged in unfair competition or unfair or deceptive
22
     acts or practices in violation of Fla. Stat. §§ 501.201, et seq., and, accordingly, Florida Plaintiff
23

24 and the Florida Damages Classes seek all relief available under that statute.

25           301.      Nebraska: By reason of the foregoing, defendants have violated Nebraska’s

26 Consumer Protection Act, Neb. Rev. Stat. §§ 59-1601, et seq. Nebraska Plaintiff on behalf of
27 the Nebraska Damages Classes alleges as follows:

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 1                  (a)     Defendants’ unlawful conduct had the following effects: (1) resistors

 2 competition was restrained, suppressed, and eliminated throughout Nebraska; (2) resistors

 3 prices were raised, fixed, maintained, and stabilized at artificially high levels throughout

 4 Nebraska; (3) Nebraska Plaintiff and the Nebraska Damages Classes were deprived of free and

 5 open competition; and (4) Nebraska Plaintiff and the Nebraska Damages Classes paid supra-

 6 competitive, artificially inflated prices for resistors.

 7                  (b)     During the Class Periods, defendants’ illegal conduct substantially

 8 affected Nebraska commerce and purchasers.

 9                  (c)     As a direct and proximate result of Defendants’ unlawful conduct,

10 Nebraska Plaintiff and the Nebraska Damages Classes have been injured and are threatened

11 with further injury.

12                  (d)     Defendants’ actions and conspiracy have had a substantial impact on the

13 public interests of Nebraska and its residents.

14                  (e)     Defendants have engaged in unfair competition or unfair or deceptive

15 acts or practices in violation of Nebraska’s Consumer Protection Act, Neb. Rev. Stat. §§ 59-

16 1601, et seq. and, accordingly, Nebraska Plaintiff and the Nebraska Damages Classes seek all

17 relief available under that statute.

18          302.    New York: By reason of the foregoing, defendants have violated New York’s

19 General Business Law, N.Y. Gen. Bus. Law § 349, et seq. New York Plaintiff on behalf of the

20 New York Damages Classes alleges as follows:

21                  (a)     Defendants agreed to, and did in fact, act in restraint of trade or

22 commerce by affecting, fixing, controlling and/or maintaining, at artificial and noncompetitive

23 levels, the prices at which resistors were sold, distributed or obtained in New York and took

24 efforts to conceal their agreements from New York Plaintiff and the New York Damages Class.

25                  (b)     The conduct of the Defendants described herein constitutes consumer-

26 oriented deceptive acts or practices within the meaning of N.Y. Gen. Bus. Law § 349, which
27 resulted in consumer injury and broad adverse impact on the public at large, and harmed the

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 1 public interest of New York State in an honest marketplace in which economic activity is

 2 conducted in a competitive manner.

 3                 (c)     Defendants made certain statements about resistors that they knew

 4 would be seen by New York residents and these statements either omitted material information

 5 that rendered the statements they made materially misleading or affirmatively misrepresented

 6 the real cause of price increases for resistors.

 7                 (d)     Defendants’ unlawful conduct had the following effects: (1) resistors

 8 price competition was restrained, suppressed, and eliminated throughout New York; (2)

 9 resistors prices were raised, fixed, maintained, and stabilized at artificially high levels

10 throughout New York; (3) New York Plaintiff and the New York Damages Classes were

11 deprived of free and open competition; and (4) New York Plaintiff and the New York Damages

12 Classes paid supra-competitive, artificially inflated prices for resistors.

13                 (e)     During the Class Periods, defendants’ illegal conduct substantially

14 affected New York commerce and purchasers.

15                 (f)     During the Class Periods, each of the Defendants named herein, directly,

16 or indirectly and through affiliates they dominated and controlled, manufactured, sold and/or

17 distributed resistors in New York.

18                 (g)     New York Plaintiff and the New York Damages Classes seek actual

19 damages for their injuries caused by these violations in an amount to be determined at trial and

20 are threatened with further injury. Without prejudice to their contention that Defendants’

21 unlawful conduct was willful and knowing, New York Plaintiff and the New York Damages

22 Classes do not seek in this action to have those damages trebled pursuant to N.Y. Gen. Bus.

23 Law § 349(h).

24 XIV. REQUEST FOR RELIEF

25          WHEREFORE, Indirect Purchaser Plaintiffs respectfully request that:

26          1.     The Court determine that this action may be maintained as a class action under

27 Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, and direct that reasonable

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 1 notice of this action, as provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure, be

 2 given to each and every member of the Classes;

 3         2.      The unlawful conduct, conspiracy or combination alleged herein be adjudged and

 4 decreed:

 5                 (a)      An unreasonable restraint of trade or commerce in violation of Section 1

 6 of the Sherman Act;

 7                 (b)      A per se violation of Section 1 of the Sherman Act;

 8                 (c)      An unlawful combination, trust, agreement, understanding, and/or concert

 9 of action in violation of the various states’ antitrust, unfair competition, and consumer protection

10 laws as set forth herein; and

11                 (d)      Acts of unjust enrichment by Defendants as set forth herein.

12         3.      Plaintiffs and the members of the Damages Classes recover damages, to the

13 maximum extent allowed under such laws, and that a joint and several judgment in favor of

14 Plaintiffs and the members of the Damages Classes be entered against Defendants in an amount

15 to be trebled to the extent such laws permit;

16         4.      Plaintiffs and the members of the Damages Classes recover damages, to the

17 maximum extent allowed by such laws, in the form of restitution and/or disgorgement of profits

18 unlawfully gained from them;

19         5.      Defendants, their affiliates, successors, transferees, assignees and other officers,

20 directors, partners, agents and employees thereof, and all other persons acting or claiming to act

21 on their behalf or in concert with them, be permanently enjoined and restrained from in any

22 manner continuing, maintaining or renewing the conduct, conspiracy, or combination alleged

23 herein, or from entering into any other conspiracy or combination having a similar purpose or

24 effect, and from adopting or following any practice, plan, program, or device having a similar

25 purpose or effect; and

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 1         6.     Plaintiffs and the members of the Damages Classes be awarded restitution,

 2 including disgorgement of profits Defendants obtained as a result of their acts of unfair

 3 competition and acts of unjust enrichment.

 4

 5 Dated: March 5, 2018                         COTCHETT, PITRE & McCARTHY, LLP

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                                            JURY DEMAND
 1
           Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of all
 2
      of the claims asserted in this Complaint so triable.
 3
      Dated: March 5, 2018                        COTCHETT, PITRE & McCARTHY, LLP
 4
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